          Case: 24-1142   Document: 11     Page: 1   Filed: 03/01/2024




                                 2023-1142

            ©ntteb States: Court of Appeals
                for tfje Jfeberal Cirruit


                          MIDWEST-CBK, LLC,
                                                 Plaintiff-Appellant,
                                     v.
                            UNITED STATES,
                                                 Defendant-Appellee.



         Appeal from the United States Court of International Trade,
         Consol, Court No. 17-cv-00154, Judge Jennifer Choe-Groves



           PRINCIPAL BRIEF OF PLAINTIFF-APPELLANT,
                      MIDWEST-CBK, LLC.



John M. Peterson                          Richard F. O’Neill
  Counsel ofRecord                        NEVILLE PETERSON LLP
Patrick B. Klein                          701 Fifth Ave Suite 4200-2159
NEVILLE PETERSON LLP                      Seattle, WA 98104
55 Broadway, Suite 2602                   (206) 905-3648
New York, NY 10006                        roneill@npwny.com
(212) 635-2730
jpeterson@npwny.com

March 1, 2024
               Case:
               Case: 24-1142
                      24-1142       Document:
                                    Document: 11
                                               3   Page: 12
                                                   Page:      Filed: 11/22/2023
                                                              Filed: 03/01/2024



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  CERTIFICATE OF INTEREST

            Case Number 2024-1142
   Short Case Caption Midwest-CBK, LLC v US
   Filing Party/Entity Midwest-CBK, LLC


 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: 11/22/2023                          Signature:        John M. Peterson

                                            Name:        John M. Peterson
               Case:
               Case: 24-1142
                      24-1142         Document:
                                      Document: 11
                                                 3     Page: 23
                                                       Page:          Filed: 11/22/2023
                                                                      Filed: 03/01/2024



FORM 9. Certificate of Interest                                                              Form 9 (p. 2)
                                                                                              March 2023


     1. Represented                       2. Real Party in              3. Parent Corporations
         Entities.                            Interest.                    and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).          Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.
                                      0 None/Not Applicable            D None/Not Applicable
Midwest-CBK, LLC                                                      Ganz Holdings, Inc., a
                                                                      privately-held Canadian company.




                                  □      Additional pages attached
               Case:
               Case: 24-1142
                      24-1142     Document:
                                  Document: 11
                                             3    Page: 34
                                                  Page:          Filed: 11/22/2023
                                                                 Filed: 03/01/2024



FORM 9. Certificate of Interest                                                      Form 9 (p. 3)
                                                                                      March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                      Additional pages attached
Maria E. Celis
Neville Peterson LLP




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
       Yes (file separate notice; see below)     El No       D     N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 0        None/Not Applicable                      Additional pages attached
                Case: 24-1142              Document: 11             Page: 5         Filed: 03/01/2024




                                          TABLE OF CONTENTS
                                                                                                     Page
CERTIFICATE OF INTEREST..................................................................................... ii
TABLE OF CONTENTS................................................................................................iii
STATEMENT OF RELATED CASES.......................................................................... 1
JURISDICTIONAL STATEMENT............................................................................... 1
STATEMENT OF THE ISSUES.................................................................................... 2
STATEMENT OF THE CASE....................................................................................... 2
SUMMARY OF THE ARGUMENT........................................................................... 14
ARGUMENT...................................................................................................................17
I.       Standard of Review............................................................................................. 17
II.      The Protested Entries Were Deemed Liquidated By Operation of Law
         Pursuant to 19 U.S.C. § 1504(b)........................................................................18
III.     There is no “Transaction Value” of the Imported Merchandise, under 19
         U.S.C4 1401a..................................................................................................... 25
         A.        There Has Been No “Sale For Export to the United States”............... 27
         B.        An “F.O.B. Buffalo, New York” Sale, Under the New York UCC,
                   is a Domestic Sale.................................................................................... 30
         C.        The Trade Court’s Holding that a “Sale for Exportation” Occurs
                   Under the Instant Facts Directly Contradicts Decisions Both Trade
                   and UCC Case Law.................................................................................. 36
IV.      Midwest’s “FOB Buffalo, New York” Sales Cannot be Characterized as
         the Sales Which “Most Directly Caused the Exportation” of the Goods...... 41
V.       Deductive Value Appraisement is the Proper Methodology Under 19
         U.S.C. § 1401a.....................................................................................................42
CONCLUSION.............................................................................................................. 44




                                                             iii
                  Case: 24-1142               Document: 11               Page: 6          Filed: 03/01/2024




                                          TABLE OF AUTHORITIES
Cases
Bell BCI Co. v. United States, 570 F.3d 1337 (Fed. Cir. 2009)............................... 17
Brosterhous v. United States, 737 F. Supp. 1197 (Ct. Int’l Tr. 1990).............. 17, 41
Butler v. Thomson, et. al., 92 U.S. 412 (1876)...........................................................28
Cable Elecs., Inc. v. N. Am. Cable Equip., Inc., 2010 WL 1541504 (N.D.
  Tex. 2010)................................................................................................................... 32
Chase Manhattan Bank v. Nissho Pacific Corp., 22 A.D.2d 215 (1st Dep't
  1964)............................................................................................................................. 34
Citizens Banking Co. v. Ravenna National Bank, 234 U.S. 360 (1914).................. 28
CMFIndustries Inc. v. Ram Winch and Hoist Ltd., 2009 U.S. Dist. LEXIS
  59713 (W.D. Wash. 2009)......................................................................................... 32
Diamond Crystal Brands, Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249
  (11th Cir. 2010).......................................................................................................... 32
E.C. McAfee Co. v. United States, 842 F.23 314 (Fed. Cir. 1988)........................... 39
Five Per Cent Cases, 110 U.S. 471 (1884)................................................................. 28
Ford Motor Co. v. United States, 157 F.3d 849 (Fed. Cir. 1998)                                                           15, 22, 24
Greb Industries, Ltd. v. United States, 64 Cust. Ct. 608 (1970)............................... 28
Guess? Inc. v. United States, 944 F.2d 855 (Fed. Cir. 1991)................................... 17
H.K. & Shanghai Banking Corp. v. HFH USA Corp., 805 F. Supp. 133
  (W.D.N.Y. 1992)......................................................................................................... 33
In re Carolina Wine Co., 2009 WL 2399944 (Bankr. E.D.N.C. 2009).................... 33
In re Nevins Ammunition, Inc., 79 B.R. 11 (Bankr. D. Idaho 1987)........................ 32
In re Sunbelt Grain WKS, ILC, 406 B.R. 918 (D. Kan. 2009).................................. 33
J.H. Cottman & Co., v. United States, 20 C.C.P.A. 344 (1932)............................... 28
J.L. Wood v. United States, 62 C.C.P.A. 25 (1974)............................................ 25, 29
Ladex Corp. v. Transporte Aereos Nacionales, S.A., 476 So. 2d 763 (Fla.
  Dist. Ct. App. 1985)....................................................................................................32
Lynteq Inc. v. United States, 976 F.2d 693 (Fed. Cir. 1992).................................... 17
MEI Int’l, Inc. v. Schenkers Int’l Forwarders, Inc., 807 F. Supp. 979
  (S.D.N.Y. 1992)......................................................................................................... 33
NealCooper Grain Co. v. Tex. Gulf Sulphur Co., 508 F.2d 283 (7th Cir.
  1974)............................................................................................... ............................. 32
Nissho-Iwai American Corp, v United States, 982 F.2d 505 (Fed Cir. 1992).. 39, 41
Orbishphere Corp. v. United States, 726 F. Supp. 1344 (Ct. Int’l Tr. 1989).. 16, 29,
  35,36
Pittsburgh Industrial Furnace Co. v. Universal Consolidated Cos., 789 F.
  Supp. 184 (W.D. Pa. 1991)........................................................................................34
R.J. Saunders v. United States, 42 C.C.P.A 55 (1955)............................................. 39
S&H Commons, Inc. v. Seiscor Techs., Inc., 221 A.D.2d 156 (1995)......................34
                                                                  IV
            Case: 24-1142      Document: 11      Page: 7    Filed: 03/01/2024




Sara Corp. v. Sanity Inti Am. Inc., 2008 U.S. Dist. 58049 (S.D.N.Y. 2008)... 32, 33
St. Paul Fire & Marine Ins. Co. v. United States, 6 F.3d 763 (Fed. Cir. 1993).... 15,
  21,23
Standard Casing Co. v. California Casing Co., 233 N.Y. 413 (1922)                        33
Synergy Sport Int'l, Ltd. v. United States, 17 C.I.T. 18 (1993)                   29, 40
United States v. Getz Bros & Co., 55 C.C.P.A. 11                                         39
United States v. Massce & Co., 21 C.C.P.A. 54 (1933)                               16, 37
United States v. S.S. Kresge Co. et al, 26 C.C.P.A. 349 (1939)                           39
Universal Electronics Inc. v. United States, 112 F.3d 488 (Fed. Cir. 1997)               18
Universal Percussion Inc. v. United States, 19 C.I.T. 546 (1995)                        21
VWP ofAm., Inc. v. United States, 117 Fed. Appx. 113 (Fed. Cir. 2004)             42, 43
VWP ofAm., Inc. v. United States, 175 F.3d 1327 (Fed. Cir. 1999)                   25, 29
Zurich Am. Ins. Co. v. Felipe Grimberg Fine Art, 324 Fed. Appx. 117 (2d
  Cir. 2009)                                                            ................33
Statutes
19 U.S.C. § 1401a                                                                  passim
19U.S.C. § 1484                                                                          7
19U.S.C. § 1504                                                                    passim
28U.S.C. § 1295                                                                          2
28U.S.C. § 1581                                                                      2, 11
28 U.S.C. § 2107                                                                         1
28 U.S.C. § 2645                                                                         1
NY UCC§ 2-106                                                                           30
NY UCC §2-319                                                                           31
NY UCC § 2-401                                                              30, 31, 33, 34
NY UCC § 2-509                                                                          32
Trade Agreements Act of 1979, Pub. L. 96-39, 93 Stat. 144 (1979)                        39
Other Authorities
Customs Headquarters Ruling 548273 ofApril 17, 2003                                     30
Customs Headquarters Ruling H165361 ofNovember 1, 2011                                  43
Sherman and Glashoff, Customs Valuation: Commentary on the GATT
 Customs Valuation Code (2d ed.)                                                        40
U.S. Customs and Border Protectiom, Bona Fide Sales & Sales For
 Exportation to the United States; An Informed Compliance Publication
 (2005)                                                                                 35




                                            v
               Case: 24-1142   Document: 11    Page: 8   Filed: 03/01/2024




      Plaintiff-Appellant, Midwest-CBK LLC, in accordance with Rules 28(a) and

32(a) of the Federal Rules of Appellate Procedure and the Rules of Practice of the

U.S. Court of Appeals for the Federal Circuit, hereby submits its principal brief in

this appeal.

                        STATEMENT OF RELATED CASES

      In accordance with Rule 47.5 of the Rules of Practice of the U.S. Court of

Appeals for the Federal Circuit, counsel for Plaintiff-Appellant Midwest makes the

following statement:

   1. Counsel for Plaintiff-Appellant are not aware of any action, currently pending

in the U.S. Court of International Trade, which will directly affect or be affected by

this Court’s decision in the instant appeal.

                         JURISDICTIONAL STATEMENT

      Plaintiff-Appellant, Midwest-CBK LLC, (“Midwest,” “Plaintiff-Appellant,”

or the “Company”), appeals from the final judgment of the U.S. Court of Interna­

tional Trade (“CIT” or “Trade Court”) in Midwest-CBK LLC v. United States, Slip

Op. 23-154, dated October 20, 2023. Appxl5, Appxl6-Appxl9.

      Midwest filed a timely notice of appeal on November 8, 2023, pursuant to 28

U.S.C. §§ 2107 and 2645(c) and Rule 4(a)(4) of the Federal Rules of Appellate pro­

cedure. The CIT possessed subject matter jurisdiction of this action pursuant to 28
            Case: 24-1142     Document: 11         Page: 9   Filed: 03/01/2024




U.S.C. § 1581(a), and this Court has appellate jurisdiction pursuant to 28 U.S.C.

§ 1295(a)(5). The appeal was docketed in this Court on November 14, 2023.

                          STATEMENT OF THE ISSUES

   1. Whether the Trade Court properly determined that Plaintiff-Appellant’s sub­

ject entries were not “deemed liquidated” by operation of law?

   2. Whether the Trade Court properly determined that Plaintiff Appellant’s do­

mestic sales to customers, made on the term “FOB, Buffalo, New York, in accord­

ance with the New York Uniform Commercial Code,” were “sales for exportation

to the United States,” and could therefore serve as the basis for determining dutiable

“transaction value” pursuant to 19 U.S.C. § 1401a(b)?

                           STATEMENT OF THE CASE

      I.     Plaintiff Appellant’s Import Operations

      Plaintiff-Appellant was established in 1953 as “Midwest of Cannon Falls,

Inc.,” a retailer of Christmas ornaments, nutcrackers, wood carvings and similar dec­

orative articles, headquartered in Cannon Falls, Minnesota, where it remained head­

quartered for all periods relevant to this case.

      In 1964, the company established a wholesale division which sold Christmas

ornaments and festive decorations to small retailers throughout the United States.

Midwest purchased goods from producers in various Asian countries and imported

them directly into the United States, warehousing them in Cannon Falls, Minnesota.


                                            2
           Case: 24-1142        Document: 11    Page: 10     Filed: 03/01/2024




The company employed sales representatives, who were assigned particular geo­

graphic territories and who visited retailers in the United States to solicit orders, first

using paper catalogues which displayed the wares and their prices, and later using

electronic catalogues stored in tablet computers.

       Terms of sale to customers were free on board (“FOB”) Cannon Falls, Min­

nesota, which meant that the sale from Midwest of Cannon Falls, Inc. to its customer

was consummated when the company delivered the goods to the customer’s carrier

of choice at Cannon Falls. The customer bore the cost of transporting the goods from

Cannon Falls to its location.

      In 2009, Midwest of Cannon Falls, Inc. was acquired by Blyth, Inc., which

merged the company into its CBK Holdings Group, headquartered in Union Falls,

Tennessee. The company was renamed “Midwest-CBK Inc.” Its headquarters re­

mained in Cannon Falls, Minnesota, but its inventory location was shifted to Union

City, Tennessee. The company’s business proceeded as before, except that sales to

the company’s customers were made on “FOB Union City, Tennessee” terms. The

customers paid the cost of transporting the goods from Union City, Tennessee, to

their respective locations.

       In 2011, Midwest-CBK Inc. was acquired by South Carolina-based MVP

Group International Inc. The company’s corporate headquarters, operations and

sales facilities remained in Cannon Falls, Minnesota, and its inventory operations


                                            3
            Case: 24-1142    Document: 11      Page: 11   Filed: 03/01/2024




remained in Union City, Tennessee. Midwest-CBK, Inc. continued to import goods

directly into the United States and sell them to customers on “FOB Union City, Ten­

nessee” terms.

      During these periods, Midwest-CBK, Inc.’s goods were imported directly into

the United States, and appraised on the basis of “transaction value,” 19 U.S.C.

§ 1401a(b), according to the prices at which foreign vendors sold the goods to Mid­

west “for export to the United States.” There was never any suggestion that sales to

its United States customers were anything other than domestic sales. The prices in

those sales were never used for Customs appraisement.

      II.    Developments Leading to this Case.

      In late 2012, the assets of Midwest-CBK, Inc. were acquired by Giftware

Holdings LLC (“Giftware Holdings”), a Delaware LLC controlled by Canadian in­

vestors, the Ganz family. These assets were later transferred to Midwest-CBK, LLC

(“Midwest”)-the corporate entity who is the Plaintiff-Appellant in this action. Mid­

west continued to have its headquarters in Cannon Falls, Minnesota, and employed

the same staff of sales representatives.

      As the Ganz family controls substantial commercial warehouse properties in

Canada, Midwest’s inventory was moved to a warehouse just outside the Toronto

city limits at 610 Hanlan Road, Woodbridge, Ontario, where Midwest entered a mar­

ket-rate lease with Ganz Realty Ltd. for warehouse space. Midwest hired employees


                                           4
           Case: 24-1142        Document: 11   Page: 12   Filed: 03/01/2024




to staff the warehouse. Midwest continued to be headquartered in Cannon Falls, and

its sales force continued to be located in, and work from, the United States.

      The only change evident to Midwest’s customers was that the terms of sale in

commercial documents were changed from “FOB Union City, Tennessee’' to

“FOB Buffalo, New York, as defined in the New York Uniform Commercial Code."

Midwest’s sales to its customers remained purely domestic sales. Midwest continued

to obtain state sales tax waivers from its customers. Customers indicated that they

were resellers of the goods being purchased, which meant that Midwest did not need

to collect state sales taxes from its customers in these domestic sales.

      Midwest’s purchase terms with its suppliers also changed. It now purchased

goods “for export to the Canada,” 1 at prices which could not be used as the basis for

determining “transaction value” pursuant to 19 U.S.C. § 1401a(b) when the goods

entered the United States. Goods Midwest bought from foreign vendors were

shipped to the Port of Vancouver, British Columbia, Canada; and then shipped by

rail and truck across Canada to the Woodbridge, Ontario, warehouse. At all times,

Midwest remained solely a United States company and did not establish any Cana­

dian affiliate or subsidiary.



1 Midwest has a few “national account” customers—i.e., large retailers such as
Kohl’s, to whom it continued to ship merchandise directly from foreign countries to
the United States. The retailers generally acted as importers of record. These national
account sales are not involved in this appeal.
                                           5
            Case: 24-1142    Document: 11      Page: 13    Filed: 03/01/2024




        Business operations continued as before: Midwest sales representatives solic­

ited orders from retailers throughout the United States;2 the orders were transmitted

electronically to Midwest’s headquarters in Minnesota, where they were reviewed

and approved by Midwest’s management. Once approved, the orders were transmit­

ted electronically to the warehouse in Woodbridge, Ontario for fulfillment. A “pick

list” would be generated, directing warehouse workers to select warehoused inven­

tory for order fulfillment. Once picked from inventory, the order was placed in one

or more boxes, labeled for delivery to the customer using a waybill form generated

from the customer’s appointed carrier (most typically, UPS or FedEx). The orders

was then loaded into a truck—i.e., third party contracted by Midwest—at the loading

dock. Either when the truck reached its maximum loading capacity, or at the end of

the workday, the truck departed from the Woodbridge warehouse to Buffalo, New

York.

        When the goods arrived in Buffalo, New York, they were entered with CBP

for consumption, with Midwest designated as importer of record. Midwest’s right to

act as importer of record derived from the fact that it was the “owner” of the mer­




2 In addition, customers were able to submit online orders, whereby, the sales repre­
sentative for the territory where the customer was located received credit for the sale,
and these sales were made on the same “FOB Buffalo, New York, as defined in the
New York Uniform Commercial Code” terms as all other sales.

                                           6
           Case: 24-1142     Document: 11     Page: 14   Filed: 03/01/2024




chandise under 19 U.S.C. § 1484(a)(2)(B). Midwest paid all Customs duties, bro­

kerage, forwarding charges, and transportation charges, and handled all Partner Gov­

ernment Agency requirements (e.g., filing reports with the United States Fish and

Wildlife Service (“FWS”)).

      After clearing Customs, the goods were transported to the UPS facility in Buf­

falo (Cheektowaga), New York, for delivery to carriers, or for temporary storage.

Under the “FOB Buffalo, New York, as defined in the New York Uniform Commer­

cial Code” sales term, title to the goods and risk of loss transferred from Midwest to

its customer once the goods were turned over to the customer’s designated carrier—

in Buffalo, New York—after all United States Customs clearance formalities had

been completed.

      Thus, from the viewpoint of Midwest’s customers, nothing had changed ex­

cept the delivery point where they received title to their goods. The prices in Mid-

west-CBK LLC’s catalogues were explicitly based on “FOB Buffalo, New York, as

defined in the New York Uniform Commercial Code” sales terms. These were “frilly

loaded” prices, designed to allow Midwest to recoup all of its costs, including the

considerable expenses of operating its United States headquarters and sales staff, the

company’s profits, and recoupment of expenses such as international transportation

and Customs duty expenses—none of which costs are included in any of the bases




                                          7
             Case: 24-1142   Document: 11    Page: 15   Filed: 03/01/2024




of Customs’ appraisement set out in 19 U.S.C. § 1401a. The sales were by their

terms domestic sales.

      III.     Midwest Enters Using “Deductive Value” 19 U.S.C. § 1401a(d).

      Midwest’s management understood that, under the new structure, there was

no sale of the goods “for export to the United States.” They also understood that,

from a United States customs duty perspective, this supply chain structure was less

efficient than when the goods had simply been purchased from vendors “for export

to the United States.”*3

      With no sale of the goods “for exportation to the United States” Midwest rec­

ognized that a different basis of Customs appraisement was needed under the hier­




3 For instance, where goods were purchased from Asian vendors “for export to the
United States,” costs of ocean shipping from the country of origin to the United
States would not be included in dutiable value. Where the goods were purchased
“for export to Canada,” however, no sale “for export to the United States” could be
established. And regardless of the basis of United States appraisement selected, the
dutiable value would include (1) the cost of transporting the goods from Asia to
Canada, (2) the costs of shipping them across Canada to the warehouse location,
(3) warehousing costs, and (4) costs of repacking the goods in Canada. These costs
had not been subject to duty when the goods were exported directly to the United
States. However, as noted above, there were business reasons for Midwest’s decision
to store its inventory in Canada, and United States duty concerns were not para­
mount.

                                         8
            Case: 24-1142    Document: 11       Page: 16   Filed: 03/01/2024




archy set out in 19 U.S.C. § 1401a. There was no sale of “identical or similar mer­

chandise” for exportation to the United States, so appraisement under 19 U.S.C.

§ 1401 a(c) was not available.4

      Turning to the next basis in the statutory hierarchy, Midwest determined to

make entry using “deductive value” 19 U.S.C. § 1401a(d), and advised Customs at

the Port of Buffalo of the fact.5 Appx42.

      IV.     Customs Audits and Rate Advances Midwest’s Entries

      After advising CBP of its intention to make entry using “deductive value,”

Midwest did so through 2013, 2014, 2015, and into 2016. In 2014, Customs “ex­

tended” the liquidation of Midwest’s entries pursuant to 19 U.S.C. § 1504(b), and

requested that its Office of Regulatory Audit conduct an audit of Midwest’s ap­

praised values. Midwest fully cooperated in the audit.

      CBP’s audit field work lasted from February 24 through February 26, 2014,

during which time, CBP collected information to appraise the subject entries. Mid­

west provided substantial documentation and never received any notices of defi­

ciency. All initial and supplemental requests for information were issued by CBP to




4 While Midwest continued to have some direct exports to the United States for “na­
tional accounts,” these goods were neither identical nor similar to the goods at issue
in this case.
5 Midwest did not have production cost information from which a “computed value,”
19 U.S.C. § 1401a(e), could be calculated.
                                            9
          Case: 24-1142     Document: 11      Page: 17   Filed: 03/01/2024




Midwest, and all requested information was provided by Midwest to CBP, on or

before June 14, 2014.

      Confoundingly, CBP continued to extend liquidation of Midwest’s entries for

two more years, acting under claimed authority of 19 U.S.C. § 1504(b). As discussed

below, these further extensions were unlawful.

      Customs did nothing for more than a year after receiving the last of the infor­

mation needed to appraise Midwest’s goods. In a draft Audit Report dated July 2015,

the Auditors concluded that Midwest’s entries should be appraised according to

“transaction value,” at the “FOB Buffalo, New York” prices charged to Midwest’s

customers. Plaintiff submitted its legal comments on the draft audit report (which

contained no new factual information), and on July 8, 2015, Midwest requested that

the auditors seek Internal Advice from Customs Headquarters regarding the proper

basis of appraisement of Midwest’s merchandise.

      On February 24, 2016, the Customs auditors issued their final audit report,

repeating their conclusion that Midwest’s imported merchandise should be appraised

on “transaction value,” according to the “FOB Buffalo, New York, as defined in the

New York Uniform Commercial Code" prices charged to Midwest’s customers.6 On




6 Notably, the Customs Auditors did not await Customs Headquarters’ response to
their Internal Advice request before issuing the final report.

                                         10
          Case: 24-1142       Document: 11    Page: 18   Filed: 03/01/2024




July 1,2016, Customs Headquarters issued Customs Headquarters RulingH275056,

which reached the same conclusion.

      However, Customs did not appraise any of Midwest’s merchandise in liqui­

dation using the “FOB Buffalo, New York, as defined in the New York Uniform Com­

mercial Code” prices. Rather, working from Midwest’s 2013 financial statements,

Import Specialists at the Port of Buffalo calculated an arbitrary “uplift” equal to

123.18% of Midwest’s entered “deductive values”—effectively liquidating the

goods at 223.18% of the entered values. This method did not correspond with any

of the statutory bases of appraisement contained in 19 U.S.C. § 1401a.

      Midwest protested these liquidations, noting that the “uplift” calculation was

not a lawful method for appraising its merchandise, and that, in any event, the “up­

lift” calculation suffered from numerous computational errors. CBP accepted that it

had made computational errors, and granted some of Midwest’s protests, reliquidat­

ing its entries at entered deductive values, plus an “uplift” of 75.75%—effectively,

175.75% of entered value.

      Midwest protested both the original liquidations and the reliquidations; and

upon denial of its protests, commenced actions in the United States Court of Inter­

national Trade (“CIT” or “Trade Court”) under 28 U.S.C. § 1581(a), which were

later consolidated. Appx23.




                                         11
           Case: 24-1142    Document: 11       Page: 19   Filed: 03/01/2024




      V.    Proceedings at the Trade Court.

      The Trade Court bifurcated the issue before it into two phases. Appx34. Phase

One concerned the following issues:

      (1) whether Plaintiffs import transactions reflect a sale “for exportation
          to the United States” and

      (2) whether the subject entries were deemed liquidated “as entered” by
          operation of law.

Appx34. The Phase One issues were submitted to the Court upon cross-motions for

summary judgment. Appx34-Appx35. Phase Two would concern any remaining is­

sues, including whether CBP’s calculations of value during liquidation were correct,

and whether deductive value was the appropriate basis of appraisement. Appx34-35.

      On May 20, 2022, the Trade Court ruled on the issues in Phase One, finding

that: (1) Midwest’s “FOB Buffalo, New York, as defined in the New York Uniform

Commercial Code'’'’ sales to its customers were sales for exportation to the United

States under 19 U.S.C. § 1401a(b); and (2) that the subject entries had not been

deemed liquidated by operation of law. Appx35.

      After the Trade Court denied Midwest’s request to certify the Phase One de­

terminations for interlocutory appeal, the parties turned to Phase Two. Appx29. The

first task in Phase Two was to determine whether the Trade Court’s determination

on the proper basis of appraisement represented a victory for Midwest or for the

Government. Appxl7. Since Customs had not appraised any of the protested entries


                                          12
          Case: 24-1142      Document: 11      Page: 20   Filed: 03/01/2024




based on the “FOB Buffalo, New York, as defined in the New York Uniform Com­

mercial Code” sales prices the Trade Court had held appropriate, it was necessary to

make a comparison of values determined using CBP’s arbitrary “uplift” method with

those derived from the these prices.

      The task proved impossible. There were millions of “FOB Buffalo, New York,

as defined in the New York Uniform Commercial Code” sales to Midwest’s custom­

ers, embracing over 12,000 distinct products, and hundreds of different tariff classi­

fications used. Each individual Customs entry typically featured several hundred

such sales and thousands of different items. Many sales to customers were split

across different entry lines (and consolidated with other customers’ purchases on

entry lines). And as Midwest had ceased active operations at the end of 2018,7 the

company had few resources to assist in such a task.

      On October 10, 2023, Midwest, with the government’s consent, requested the

Trade Court enter judgment of dismissal against it based its Phase One decision,

stipulating that (Appxl8):

       ... should the Court of Appeals for the Federal Circuit affirm this
      Court’s final judgment, the case will be dismissed and that plaintiff will
      abandon all further claims for the return of the disputed duties that form
      the basis for this lawsuit. Plaintiff further stipulates that, should this



7 At the end of 2018, Midwest wound up active operations and its sales operations
were consolidated with those of the giftware wholesale Ganz, also owned by the
Ganz family.

                                          13
           Case: 24-1142     Document: 11         Page: 21   Filed: 03/01/2024




      matter be remanded to the trial court for any purpose, plaintiff will not
      present any further evidence as to the calculation of transaction value.8

On October 20, 2023 the Trade Court entered such judgment and this appeal

was followed. Appxl5.

                       SUMMARY OF THE ARGUMENT

      Midwest’s appeal rests on two grounds. First, Midwest submits that Customs’

value advances in liquidation of its entries were unlawful. The entries had already

“deemed liquidated” under 19 U.S.C. § 1504(a)(1) at the rates and amounts of duty

asserted at the time of entry. 19 U.S.C. § 1504(a)(1) provides that entries not liqui­

dated by CBP within one year of the entry date are “deemed liquidated” on the an­

niversary of the entry date “at the rate of duty, value, quantity, and amount of duties

asserted by the importer of record.” Section 504(b) of the Tariff Act authorizes the

Secretary of the Treasury to issue up to three (3) one-year extensions of the liquida­

tion period if certain conditions are met:

      (b) Extension

      The Secretary of the Treasury may extend the period in which to liqui­
      date an entry if—

          (l)the information needed for the proper appraisement or classifica­
              tion of the imported or withdrawn merchandise, or for determin­
              ing the correct drawback amount, or for ensuring compliance
              with applicable law, is not available to the Customs Service; or



8 Midwest would, if necessary submit evidence on remand related to the deductive
values it had used to make entry.
                                             14
           Case: 24-1142     Document: 11       Page: 22   Filed: 03/01/2024




          (2) the importer of record or drawback claimant, as the case may be,
              requests such extension and shows good cause therefor.

      Here, the statutory conditions are not met. Midwest, as importer, did not re­

quest that CBP extend the liquidation of its entries, but more importantly, Customs

had received all “information needed for the proper appraisement” of Midwest’s

merchandise no later than June 14, 2014. CBP had no legal basis to further extend

liquidation of Midwest’s entries, and any such purported extensions are void, with

the result that the entries were “deemed liquidated” under 19 U.S.C. § 1504(a) at the

values and rates of duty contained in the entry documents.

      While CBP has discretion to extend liquidation periods when it is awaiting

the receipt of information necessary for appraisement, see e.g., St. Paul Fire & Ma­

rine Ins. Co. v. United States, 6 F.3d 763 (Fed. Cir. 1993), it has no discretion to

extend the liquidation period after it has received all necessary information. See e.g.,

Ford Motor Co. v. United States, 157 F.3d 849 (Fed. Cir. 1998). This point is ad­

dressed first in this appeal because, if the Court rules in Midwest’s favor, it may

obviate the need to reach the second issue.

      Second, Midwest challenges the Trade Court’s holding that Midwest’s sales

to its customers, made on purely domestic terms “FOB Buffalo, New York, as defined

in the New York Uniform Commercial Code'" constitute sales “for exportation to the

United States,” which can serve as the basis of dutiable “transaction value” under 19



                                           15
           Case: 24-1142     Document: 11       Page: 23   Filed: 03/01/2024




U.S.C. § 1401a(b). These are purely domestic sales which cannot serve as the basis

of Customs appraisement.

      As the Trade Court held previously in Orbishphere Corp. v. United States,

726 F. Supp. 1344 (Ct. Int’l Tr. 1989), the fact that goods are physically located

outside the United States when a domestic sale is agreed to does not transform the

domestic sale into a sale “for exportation to the United States” to be used for calcu­

lating a dutiable “transaction value.” The Trade Court improperly rejected the hold­

ing in Orbisphere because it was based on a decision issued under a prior valuation

statute, United States v. Massce & Co., 21 C.C.P.A. 54 (1933). However, as dis­

cussed herein, Orbisphere was decided under the current value statute, and the deci­

sion of this Court’s predecessor in Massce remains relevant to the identification of

sales in the current commercial context.

      In the instant case, there is no sale “for exportation to the United States.” Mid­

west structured its sales so that no sale “for exportation to the United States” could

occur. Midwest’s goods moved from Canada to the United States pursuant to an

internal inventory transfer between two Midwest locations, all without any sale.

Midwest retains title to the goods and risk of loss from the time they leave the Wood­

bridge, Ontario, facility, and through the period when the goods were entered for

consumption into the United States and cleared through Customs. Title transferred




                                           16
           Case: 24-1142     Document: 11      Page: 24   Filed: 03/01/2024




to Midwest’s customers in the United States after the goods are delivered to the cus­

tomers’ designated carriers, per the “FOB Buffalo, New York, as defined in the New

York Uniform Commercial Code” terms of sale.

      To the extent the Trade Court’s decision treats Midwest’s domestic sales to

its customers as the sales which “cause” the goods to be shipped to the United States,

the Court’s decision would be reinstating the rule set out in Brosterhous v. United

States, 737 F. Supp. 1197, 1199 (Ct. Int’l Tr. 1990), which this Court explicitly over­

ruled vnNissho-Iwai American Corp. v. United States, 982 F.2d 505 (Fed. Cir. 1992).

      The decision of the Trade Court below should be vacated, and this case re­

manded for further proceedings consistent with this Court’s opinion.

                                   ARGUMENT

I.    Standard of Review.

      This Court reviews legal holdings de novo and examines factual findings for

clear error. Bell BCI Co. v. United States, 570 F.3d 1337, 1340 (Fed. Cir. 2009). The

Court also reviews the lower court’s interpretation of statutory provisions de novo

and without deference. Lynteq Inc. v. United States, 976 F.2d 693, 696 (Fed. Cir.

1992); Guess? Inc. v. United States, 944 F.2d 855, 857 (Fed. Cir. 1991). This Court

reviews decisions of the CIT denying motions for summary judgment, and granting

cross-motions for summary judgment, de novo.




                                          17
           Case: 24-1142     Document: 11       Page: 25   Filed: 03/01/2024




      Where, as here, matters are resolved upon summary judgment, and there are

no disputed factual issues, this Court’s inquiry resolves entirely into one of law,

which this Court reviews de novo and without regard to any presumption of correct­

ness which might otherwise attach to Customs’ determination in liquidation. See

Universal Electronics Inc. v. United States, 112 F.3d 488, 492 (Fed. Cir. 1997).

II.   The Protested Entries Were Deemed Liquidated By Operation of Law
      Pursuant to 19 U.S.C. § 1504(b).

      The entries at issue were liquidated by operation of law, as entered, pursuant

to Section 504(b) of the Tariff Act, 19 U.S.C. § 1504(b). Midwest submits that CBP

had no basis to extend liquidation of entries after June 14, 2014, because at that time,

CBP had in its possession “the information needed” for the appraisement of Mid­

west's entries. Id. The consequence of CBP's unjustified extensions is that the ille­

gally extended entries were liquidated “as entered,” by operation of law, on their

anniversary dates.

      By law, CBP is obligated to liquidate entries within one year of their date of

entry. 19 U.S.C. § 1504(a)(1). If CBP fails to liquidate any entry within one year,

the entry is deemed liquidated “by operation of law” at the rate and amount of duty

asserted by the importer at the time of entry. Extensions of the one year liquidation

period are permitted in certain circumstances where: (i) “the information needed for

the proper appraisement ... is not available to [CBP]” or the importer requests an

extension of liquidation (ii) notices of each extension are provided to the importer

                                           18
           Case: 24-1142     Document: 11       Page: 26   Filed: 03/01/2024




and its surety; and (iii) the cumulative extensions of the liquidation period may not

bring the liquidation date beyond four years from the date of entry (z.e., only three

one-year extensions of the liquidation period are possible). 19 U.S.C. § 1504(b).

      Here, Midwest never requested an extension of liquidation of the protested

entries. Rather, CBP officials, on their own initiative, extended the liquidation of the

protested entries while engaged in a “quick response audit” of Midwest's entries. We

have no doubt that extending liquidation is proper when CBP is gathering or receiv­

ing information; but once the information necessary for appraisement of the goods

(in this case) was received - on June 14, 2014 - the statutory predicate for further

extensions is no longer operative.

      Midwest fully cooperated with Customs auditors. CBP’s audit field work be­

gan on February 24, 2014, and continued through February 26, 2014. During this

time, CBP’s audit team gathered information to appraise the subject entries. Midwest

provided substantial documentation and never received a notice of deficiency. Ini­

tial and supplemental requests for information were issued by CBP to Midwest,

and all requested information was provided by Midwest to CBP, on or before

June 14, 2014.

      Despite several requests from Midwest for status updates from CBP, there was

no further correspondence from CBP for more than a year, until, July 2015

when the auditors issued the Draft Audit Report, Appx43, and invited Midwest to


                                           19
           Case: 24-1142     Document: 11      Page: 27    Filed: 03/01/2024




comment thereon. Because CBP’s Draft Audit Report was so brief— panning only

one-and-a-half pages in length, and bereft of citations to evidence or authority—

Midwest submitted its comments very quickly. Appx43. This submission consisted

solely of legal commentary, with no new factual information. Thus, CBP had re­

ceived the last piece of information that it “needed” to appraise the protested entries

more than a year before the date when the auditors issued the Draft Audit Report.

      Customs then went silent for another seven months. Nothing further was heard

from CBP until February 1, 2016, when Raymond Baker, Assistant Regulatory Au­

dit Director for the Port of Buffalo, contacted Midwest's counsel to advise that a final

audit report would be issued forthwith. The final audit report was issued on Febru­

ary 24, 2016. Appx43.

      Almost two months later, on March 28, 2016, an Import Specialist at the Port

of Buffalo issued a CF 29 Notice of Action which indicated that certain entries (in­

cluded in the protests which are the subject of this action) would be liquidated with

the 123.13% uplift. Appx44. The first of these liquidations occurred on April 8,

2016, which is nearly two years after CBP’s auditors received the last of the infor­

mation requested from Midwest, and almost exactly two years after the agency re­

ceived the Midwest 2013 financial report on which the liquidated values were based.

Subsequently, by letter dated April 25, 2016, Appx44, the Import Specialist ex­




                                          20
          Case: 24-1142     Document: 11      Page: 28   Filed: 03/01/2024




plained the basis of CBP’s 123.13% uplift calculation. According to CBP's assess­

ment was based solely on information taken from financial statements which Mid­

west had provided to CBP in April 2014. It was not based on the “FOB Buffalo, New

York, as defined in the New York Uniform Commercial Code'’'’ prices which Midwest

charged its United States customers.

      From the foregoing, it is clear that during the period June 14, 2014 through

April 8, 2016, CBP was not lacking any of the information needed to calculate the

appraised value of Midwest's entries. The consequence is that all further extensions

of liquidation after June 14, 2014 are null and void and that the entries at bar were

deemed liquidated, as entered, on their respective anniversary dates falling within

that time. 19 U.S.C. § 1504(b).

      It is well-established that CBP may not extend the liquidation of an entry with­

out statutory cause, and the statute is clear that an extension is only valid if CBP

lacks “the information needed for the proper appraisement” of an importer's entries.

Id. Where CBP does not require additional information to liquidate an entry, and is

not awaiting the submission of data necessary for liquidation, no basis in law exists

for extending liquidation under 19 U.S.C. § 1504(b). See e.g., St. Paul Fire & Marine

Ins. Co. v. United States, 6 F.3d 763 (Fed. Cir. 1993); Universal Percussion Inc. v.

United States, 19 C.I.T. 546 (1995).




                                         21
              Case: 24-1142     Document: 11     Page: 29   Filed: 03/01/2024




          In Ford Motor Co. v. United States, 157 F.3d 849 (Fed. Cir. 1998), CBP offi­

cials sought information that they deemed necessary to appraise certain merchan­

dise. There were deficiencies in the data which the importer provided, but CBP took

no action to liquidate the entries for more than three years, and did not reach out to

the importer with a notice of deficiency or request any new or additional information.

This Court held “[i]n light of this record, a reasonable fact finder could determine

that Customs did virtually nothing for nearly two years.” Id. at 856. Notably in Ford,

CBP defended its extensions of liquidation on the basis that it was conducting a fraud

investigation, but the Court held this merely created an issue of fact to be decided at

trial.9

          A full airing of the facts in this case reveals that CBP's delay was unreasona­

ble, resulting in the affected entries being deemed liquidated by operation of law

pursuant to 19 U.S.C. § 1504(a). Unlike Ford, Customs in this case was not conduct­

ing any investigation of the importer and the government did not so contend.10 In

this case, clearly CBP did not need any additional information to appraise Midwest's

goods. The Import Specialist letter of April 25, 2016, Appx44, further demonstrates



9 Stated another way, the information required by Customs which would justify ex­
tension of liquidation of an entry cannot be information Customs is awaiting to re­
ceive from itself.
10 Had the government contended that it was awaiting information after June 14,
2014, this would have established a material question of fact, precluding the Trade
Court’s entry of summary judgment.
                                            22
           Case: 24-1142       Document: 11      Page: 30    Filed: 03/01/2024




that CBP had all of the information required for the appraisements it did perform in

early 2014.

       CBP’s own internal deliberations concerning the proper basis of appraisement

of Midwest's goods do not constitute a “need” on the agency's part for additional

information needed to appraise. Mere lassitude, or prolonged internal deliberations,

do not provide a basis for extending the liquidation period.

       CBP asserts that during the period from June 2014 until April 2016, the

agency was engaged in various forms of internal “review.” Appx60-Appx61. Fi­

nally, in February 2016 the final audit report was published. The Government as­

serts—without citation to authority—that liquidation, however, could not occur ab­

sent a final report.11 This is untrue. This contention is particularly ironic in the instant

case, where CBP liquidated Midwest’s entries in a manner which disregarded the

conclusions of the report entirely.

       Citing this Court’s decision in St. Paul Fire & Marine Ins. Co v. United States,

6 F.3d 763 (Fed Cir. 1993), the Trade Court asserted that CBP’s decision to extend

liquidation in this case should be reviewed according to an “abuse of discretion”

standard. St. Paul is inapposite, however. In St. Paul, Customs had requested infor­

mation from an importer, who failed to provide it, and then extended liquidation of



11 It may be noted that the vast majority of CBP audits are audits of entries already
liquidated.
                                            23
           Case: 24-1142      Document: 11      Page: 31    Filed: 03/01/2024




entries in the (wan) hope the information would be received. Customs liquidated the

importer’s entries with a duty increase, and demanded payment from the importer’s

surety. The surety argued that the extensions were improper, and that the entries

should be considered “deemed liquidated.” This Court held that since the statutory

basis for extending liquidation still existed—Customs lacked information necessary

to properly liquidate the entries - the agency had discretion to extend liquidation.

       That is not the case here. Customs had all the information it needed to appraise

Midwest’s entries by June 14, 2014. At that point the statutory condition for further

extensions had disappeared, and the limit on liquidation set out in 19 U.S.C.

§ 1504(a) was operative. Nothing in §1504 provides Customs with any discretion in

that situation.

       This case more closely resembles Ford Motor Co. v. United States, 157 F.3d

849, 855 (Fed. Cir. 1998), where this Court held that “the Court of International

Trade cannot uphold a decision to extend a liquidation if an importer ‘eliminates all

reasonable bases for making that decision.’”

       Stated another way, Customs has discretion under 19 U.S.C. § 1504(b) until

it does not. If it is still seeking information necessary to do its job, it has discretion

to extend liquidation. Once it receives that information, its discretion disappears.

Any other interpretation robs the statutory limitation on liquidation of all force and

meaning.


                                           24
           Case: 24-1142      Document: 11      Page: 32    Filed: 03/01/2024




       Nor can the government argue that its internal deliberations regarding infor­

mation received from the importer provides cause for further extending the liquida­

tion of entries. Analysis and liquidation are precisely the tasks which 19 U.S.C.

§ 1504(a)(1) commands be done with alacrity. Nor can the government credibly

claim that it needed to issue its Final Audit Report before liquidating, when the ac­

tual liquidations were performed without regard to that report, using information

provided to Customs years earlier.

       This Court should conclude that Midwest’s entries liquidated by operation of

19 U.S.C. § 1504(a) “at the rate of duty, value, quantity, and amount of duties as­

serted by the importer of record.” Id.

III.   There is no “Transaction Value” of the Imported Merchandise, under 19
       U.S.C. § 1401a.

       The principal basis of appraisement for goods imported into the United States

is “transaction value,” defined at 19 U.S.C. § 1401a(b) as “the price actually paid or

payable for the merchandise when sold for exportation to the United States,” plus

certain statutory additions not applicable here. There can be no “transaction value”

of imported merchandise, unless two conditions are satisfied:

       (1) There must be a “sale” of the merchandise, that is, “a transfer of title
           from one party to another for consideration,” VWP of Am., Inc. v.
           United States, 175 F.3d 1327, 1339 (Fed. Cir. 1999); seeJ.L. Wood
           v. United States, 62 C.C.P.A. 25, 33 (1974); and




                                           25
            Case: 24-1142     Document: 11      Page: 33   Filed: 03/01/2024




       (2) The sale must be “for exportation to the United States,” that is, an
           international sale in which the goods enter the customs territory of
           the United States.

If the merchandise undergoing appraisement was not the subject of a sale “for ex­

portation to the United States, it must be appraised according to one of the other

bases of appraisement set out in 19 U.S.C. § 1401a, which are applied in hierarchical

order.12



12 The statutory bases of appraisement are set out in 19 U.S.C. § 1401 a(a)(l) as fol­
lows:
Sec. 1401a. Value
(a) Generally
           (1) Except as otherwise specifically provided for in this chapter, im­
           ported merchandise shall be appraised, for the purposes of this chap­
           ter, on the basis of the following:
              (A) The transaction value provided for under subsection (b) of
              this section.
              (B) The transaction value of identical merchandise provided for
              under subsection (c) of this section, if the value referred to in
              subparagraph (A) cannot be determined, or can be determined
              but cannot be used by reason of subsection (b)(2) of this section.
              (C) The transaction value of similar merchandise provided for
              under subsection (c) of this section, if the value referred to in
              subparagraph (B) cannot be determined.
              (D) The deductive value provided for under subsection (d) of this
              section, if the value referred to in subparagraph (C) cannot be
              determined and if the importer does not request alternative valu­
              ation under paragraph (2).
              (E) The computed value provided for under subsection (e) of this
              section, if the value referred to in subparagraph (D) cannot be
              determined.
                                           26
           Case: 24-1142     Document: 11     Page: 34    Filed: 03/01/2024




      While in this case, there is a “sale,” the second requirement is not met. The

sales by Midwest to its customers are not sales “for export to the United States.”

Midwest owns the merchandise from the time it is shipped by the foreign manufac-

turer/seller. It continues to own the goods while they are stored in Canada, and when

they are transferred from the Canadian warehouse to the distribution center in Buf­

falo, New York. The bill of lading and other documents accompanying the goods

from Canada to the United States confirm that the shipment is a mere consignment,

from one Midwest (storage) location to another (delivery) location, and that there is

no sale of goods for exportation to the United States

      The “FOB Buffalo, New York, as defined in the New York Uniform Commer­

cial Code" sales from Midwest to its customer are sales by a domestic seller to do­

mestic customers, procured by a United States-based sales staff, and effected by de­

livery to the customer at a designated delivery point in the United States. The terms

of delivery are governed by State law, in particular the New York Uniform Com­

mercial Code.


      A.     There Has Been No “Sale For Export to the United States”

      As required by 19 U.S.C. § 1401a(b), analysis begins by determining whether

transaction value can be used to appraise the merchandise entered into the United



             (F) The value provided for under subsection (f) of this section, if
             the value referred to in subparagraph (E) cannot be determined.
                                         27
           Case: 24-1142     Document: 11      Page: 35    Filed: 03/01/2024




States in the subject entries. The first question in this inquiry is whether, under the

instant facts, there is a bona fide sale at arm’s length between a buyer and seller.

      The term “sale” has an established definition consistent with its common

meaning and that intended by the Tariff Act and the UCC. According to Greb In­

dustries, Ltd. v. United States, 64 Cust. Ct. 608, 617 (1970), the term “sale is defined

as a contract by which the absolute ownership of property is transferred from one

person to another for a price, sum of money, or other consideration.” Likewise, in

J.H. Cottman & Co., v. United States, 20 C.C.P.A. 344, 356 (1932), the Court de­

fined sale as “a contract whereby the absolute, or general, ownership of property is

transferred from one person to another for a price, or sum of money, or, loosely, for

any consideration.” This definition, according to the Court, “is the usual meaning

given to [sale] by the courts, unless by accompanying language, some other meaning

is evidently intended.” Id. (citing Citizens Banking Co. v. Ravenna National Bank,

234 U.S. 360 (1914)); Butler v. Thomson, et. al., 92 U.S. 412, 414-15 (1876); Five

Per Cent Cases, 110 U.S. 471, 478 (1884). The Supreme Court has held that “[a]

sale, in the ordinary sense of the word, is a transfer of property for a fixed price in

money or its equivalent.” Id. at 478. In the context of Section 402 of the Tariff Act,

there is no reason to believe that “sale” should have any meaning besides its ordinary

meaning. 19 U.S.C. § 1401a.




                                          28
           Case: 24-1142     Document: 11      Page: 36   Filed: 03/01/2024




      All of the foregoing definitions of “sale” consistently require a transfer of

ownership for consideration. The Trade Courts have carefully scrutinized whether a

transfer has occurred in a variety of contexts. See e.g., J.L. Wood v. United States,

62 C.C.P.A. 25, 33 (1974); Orbisphere Corporation v. United States, 726 F. Supp.

1344, 1357-58 (Ct. Int'l Trade 1989); Synergy Sport Int'l, Ltd. v. United States, 17

C.I.T. 18, 19-21 (1993); VWP ofAmerica Inc. v. United States, 175 F.3d 1327, 1339

(Fed. Cir. 1999). In this case, the “FOB Buffalo” sales by Midwest to its customers

are bona fide sales.

      However because the sales occur entirely in the United States, they are not

sales “for export to the United States. There is no “meeting of the minds” between

buyer and seller to contract for an international sale of goods.

      An apt comparison would be the purchase of a Mercedes-Benz automobile. A

customer visits a Mercedes dealer in downtown Buffalo, and orders a vehicle which

is to be delivered at the dealer’s premises. The dealer and purchaser treat the sale as

a “domestic one,” with the dealer charging the buyer applicable sales taxes. This

domestic sale is not transformed into a “sale for exportation” merely because (unbe­

knownst to the customer) the vehicle is outside the United States when the sales

agreement is made.

      Midwest sales were purely domestic sales. Customs has consistently ruled that

sales occurring domestically are not sales “for exportation to the United States” and


                                          29
            Case: 24-1142     Document: 11      Page: 37    Filed: 03/01/2024




cannot serve as the basis for a “transaction value” appraisement. See, e.g., Customs

Headquarters Ruling 548273 ofApril 17, 2003.

       B.    An “F.O.B. Buffalo, New York” Sale, Under the New York UCC,
             is a Domestic Sale.

       If there remains any doubt that the prevailing elements of a sale require a

transfer of title for consideration, the New York UCC, which governs Midwest’s

sales to its United States customers, is clear. It offers the following definition: “[a]

'sale' consists in the passing of title from the seller to the buyer for a price.” See NY

UCC § 2-106. Addressing the transfer of title to a buyer, NY UCC § 2-401(1) pro­

vides that “title to goods passes from the seller to the buyer in any manner and on

any conditions explicitly agreed on by the parties.” With an emphasis on the condi­

tions of the sales contract, the law further states:


              (1) Unless otherwise explicitly agreed title passes to the buyer at
                  the time and place at which the seller completes his per­
                  formance with reference to the physical delivery of the
                  goods, despite any reservation of a security interest and even
                  though a document of title is to be delivered at a different
                  time or place; and in particular and despite any reservation of
                  a security interest by the bill of lading

                    (a) if the contract requires or authorizes the seller to send
                        the goods to the buyer but does not require him to de­
                        liver them at destination, title passes to the buyer at the
                        time and place of shipment; but
                    (b) if the contract requires delivery at destination, title
                        passes on tender there.




                                           30
           Case: 24-1142      Document: 11      Page: 38   Filed: 03/01/2024




NY UCC § 2-401(2) (emphasis added). Of course, here, the commercial sales docu­

ments specifically require delivery at a particular destination, and thus NY UCC § 2-

401(2)(B) governs.

      To this end, the pro forma invoice shows that the merchandise is exported

from the Woodbridge warehouse on consignment to Midwest at an address in Buf­

falo, New York without any transfer of title or risk of loss occurring. Appx22. The

packing slip further specifies that the terms of sale require that the goods be delivered

to the customer “F.O.B. Buffalo, New York,” while the invoice is even more ex­

plicit, specifying “FOB Buffalo, New York, as defined in the New York Uniform

Commercial Code.”

      The term “F.O.B." is governed by NY UCC § 2-319 (emphasis added), which

provides in pertinent part:


      (1)Unless otherwise agreed the term F.O.B. (which means “free on
         board”) at a named place, even though used only in connection with
         the stated price, is a delivery term under which

             (a) [Inapplicable]

             (b) when the term is F.O.B. the place of destination, the seller
                 must at his own expense and risk transport the goods to that
                 place and there tender delivery of them in the manner pro­
                 vided in this Article (Section 2-503).

Midwest incurs all expenses associated with the movement of goods from Wood­

bridge to the “F.O.B. Buffalo, New York” delivery point. There is no question that


                                           31
           Case: 24-1142     Document: 11      Page: 39    Filed: 03/01/2024




Midwest bears the risk of loss associated with this movement. Certainly, the NY

UCC supports this position. See NY UCC § 2-509.


      Terms of the agreement between the parties are evident in the transaction doc­

uments themselves. Midwest’s Terms and Conditions, featured in its catalogue and

website offering materials, expressly indicates that “Freight charge is in addition to

our Buffalo NY F.O.B. cost.” The invoice to the customer specifically states the

terms of sale and delivery: “FOB Buffalo, New York, as defined in the New York

Uniform Commercial Code.” Appx38-Appx39.


      The UCC is explicit in requiring a seller of goods on “FOB” terms to make

the goods available to the buyer at the named place, and bear the risks and costs of

putting them into the buyer's possession.13 Delivery to the carrier constitutes delivery

to the buyer.14 As described in Diamond Crystal Brands, Inc. v. Food Movers Int’l,

Inc., 593 F.3d 1249, 1255 n.2 (11th Cir. 2010), “the use of the term F.O.B Savannah




nLadex Corp. v. Transports Aereos Nacionales, S.A., 476 So. 2d 763,765 (Fla. Dist.
Ct. App. 1985) (distinguishing between "shipment" and "destination" contracts); see
also e.g.,In re Nevins Ammunition, Inc., 79 B.R. 11, 16-17 (Bankr. D. Idaho 1987)
(same); NealCooper Grain Co. v. Tex. GulfSulphur Co., 508 F.2d 283, 291 (7th Cir.
1974) (same); Cable Elecs., Inc. v. N. Am. Cable Equip., Inc., 2010 WL 1541504 at
*3 n.25 (N.D. Tex. 2010) (same).
 Sara Corp. v. Sanity Inti Am. Inc.,2008 U.S. Dist. 58049 at *
                                                             *18-19 (S.D.N.Y 2008)
and citations therein; CMF Industries Inc. v. Ram Winch and Hoist Ltd., 2009 U.S.
Dist. LEXIS 59713 (W.D. Wash. 2009).
                                          32
           Case: 24-1142      Document: 11       Page: 40    Filed: 03/01/2024




in this case means that [seller] had the obligation to tender the product at its plant in

Savannah and bore the risk of loss for the product until it was tendered.”


       Consequently, the term “FOB Buffalo, New York, as defined in the New York

Uniform Commercial Code'" means that merchandise is delivered when the seller

hands it over to the buyer’s conveyance at the seller’s facility in New York. Delivery

of the merchandise F.O.B. to the seller’s facility means that the sale takes place there.

See NY UCC § 2-401(2)(a). Under this provision, title passes upon delivery in the

absence of a contrary agreement between the parties.15 See MEI Int'l, Inc. v. Schen­

kers Int'l Forwarders, Inc., 807 F. Supp. 979, 986 n.2 (S.D.N.Y. 1992) (“[u]nder

U.C.C. § 2-401(2), title to goods passes at the time and place that the seller completes

performance with respect to the physical delivery of the goods”); H.K. & Shanghai

Banking Corp. v. HFH USA Corp., 805 F. Supp. 133, 141-42 (W.D.N.Y. 1992). As

set forth in Sara Corp. v. Sainty Inti Am., Inc., 2008 U.S. Dist. 58049 (S.D.N.Y.

2008), “[t]he general rule is that upon a sale 'f.o.b. the point of shipment,' title passes

from the seller at the moment of delivery to the carrier, and the subject of the sale is

thereafter at the buyer's risk.” Id. at * 18-19 (citing Standard Casing Co. v. California

Casing Co., 233 N.Y. 413, 416 (1922)). Thus, “[ojrdinarily, delivery to the earner




15 See e.g., Zurich Am. Ins. Co. v. Felipe Grimberg Fine Art, 324 Fed. Appx. 117,
119-120 (2d Cir. 2009); In re Sunbelt Grain WKS, ILC, 406 B.R. 918, 933 (D. Kan.
2009); In re Carolina Wine Co., 2009 WL 2399944 at *2 (Bankr. E.D.N.C. 2009).
                                            33
           Case: 24-1142      Document: 11      Page: 41   Filed: 03/01/2024




is delivery to the buyer.” Chase Manhattan Bank v. Nissho Pacific Corp., 22 A.D.2d

215, 221 (1st Dep't 1964). “(T]he seller must bear the risk and expense of putting

the goods in the possession of an independent carrier at the seller's location.” Pitts­

burgh Industrial Furnace Co. v. Universal Consolidated Cos., 789 F. Supp. 184,

188-89 (W.D. Pa. 1991) (construing UCC 2-319(l)(a)).

      NY UCC § 2-401(2)(a) permits the parties to specify in a contract the point at

which title passes. See e.g., S&H Commons, Inc. v. Seiscor Techs., Inc., 221 A.D.2d

156 (1995). In S&H, the contract specified that title passed at the place of delivery,

and thus did not depart from the general rule set forth in UCC § 2-401(2). Conse­

quently, title passed when the merchandise was handed over to the carrier, the same

as if the contract were silent regarding title passage.

      CBP’s own Informed Compliance Publication regarding “sale for exporta­

tion” contains the following passage:

      8. What factors indicate whether property or ownership in property was
         transferred?

      In determining whether property or ownership in property has been
      transferred from a potential seller to a potential buyer, CBP considers
      whether the potential buyer has assumed the risk of loss for the im­
      ported merchandise (i.e., the potential buyer was liable for the imported
      merchandise if lost or damaged during shipment) and acquired title to
      the imported merchandise (i.e., the potential buyer legally possesses or
      owns the imported merchandise). In addition, CBP may examine
      whether the potential buyer paid for the merchandise (i.e., consideration
      passed between the potential buyer and seller for the imported merchan­
      dise). Transactions involving goods that are shipped on consignment do
      not constitute bona fide sales because the goods are not the subject of a

                                           34
           Case: 24-1142     Document: 11      Page: 42   Filed: 03/01/2024




      sale. Therefore, the transaction value method of appraisement cannot
      be used to appraise goods shipped to the United States on consignment.
      Other examples where imported goods are not considered to be the sub­
      ject of a sale include gifts, samples and promotional items furnished
      free of charge; goods imported under a leasing contract; and goods that
      were loaned. The transaction value method cannot be used to appraise
      such goods. Therefore, an alternative method of appraisement must be
      used in such situations.

U.S. Customs and Border Protectiom, Bona Fide Sales & Sales For Exportation to

the United States; An Informed Compliance Publication (2005) at 3.16 Here, under

the governing contracts between Midwest and its customers, the sales occurred in

Buffalo, New York because the merchandise was delivered and title and risk of loss

transferred there.

      The state of the law is clear, conclusive and overwhelming. Where goods are

sold “FOB Buffalo, New York,” pursuant to the New York UCC, the sale of the

goods occurs domestically, in the State of New York. From a customs perspective,

where a sale occurs at an “FOB” point in the U.S., and purchase orders are accepted

in the U.S., the sale is purely a domestic one which cannot be used as the basis of

dutiable “transaction value.” See Orbisphere, supra.

      Simply stated, the sales from Midwest to its United States customers are not

“sales for exportation to the United States” since they do not occur until after expor­




16 Accessible at https://www.cbp.gov/sites/default/files/assets/documents/2020-
Feb/ICP-Bona-Fide-Sales-2005-Final.pdf (last accessed March 1, 2024).
                                          35
           Case: 24-1142     Document: 11      Page: 43   Filed: 03/01/2024




tation to the United States has been completed. Midwest and its customers are sub­

ject to a purely domestic contract of sale, not an international one. A domestic sale

is not a “sale for exportation to the United States” and cannot be used as the basis of

transaction value appraisement.

      C.     The Trade Court’s Holding that a “Sale for Exportation” Occurs
             Under the Instant Facts Directly Contradicts Decisions Both Trade
             and UCC Case Law.

      The Trade Court’s holding that a “sale for export” exists under these facts

directly contradicts court decisions interpreting the UCC and various decisions of

the trade courts concerning whether there is a “sale for export to the U.S.” for Cus­

toms appraisement purposes. Indeed, decisions interpreting the UCC as adopted by

the State of New York, and as adopted in other states, corroborate Midwest's con­

tentions herein, as well as the conclusions drawn in Orbisphere and related cases.

      It is well-settled that where goods move to the United States on consignment,

or in a transfer between two of the seller’s facilities, there is no sale of goods “for

exportation to the United States” and no transaction value can be determined for the

goods. This principle was established over thirty years ago, in the case of Orbi­

sphere, Inc. v. United States, 726 F. Supp. 1344, 1357-58 (Ct. Int'l Trade 1989). In

Orbisphere, United States customers placed orders for the purchase of gas detection

devices at one of the plaintiffs four domestic sales office location in New Jersey,

Texas, Illinois and California. Id. at 1344. Once the orders were received, they were


                                          36
           Case: 24-1142     Document: 11      Page: 44   Filed: 03/01/2024




forwarded to plaintiffs office in Geneva, Switzerland, where the devices were man­

ufactured. Id. at 1344-45. The goods were then shipped to Orbisphere’s office in

New Jersey. Prices were set by the Geneva, Switzerland officer, and were not subject

to adjustment by the United States sales officer. Id. at 1345.

      The gas detection devices, when imported, were unpacked and inspected at

Orbisphere’s New Jersey office, before being shipped to United States customers.

Id. The Trade Court noted the terms of delivery to be the following:

      title and risk of loss passes [sic] from seller to the buyer on delivery of
      the merchandise to the carrier at the F.O.B. point indicated in the in­
      voice.’ Under the heading ‘Prices and payment terms’, item 5 on this
      invoice, it is stated ‘All prices are F.O.B. Haworth, N.J. Item 1 on this
      invoice, titled ‘Orders’, provides “Orders are subject to acceptance only
      at seller’s office in Haworth, N.J.

Id. The costs of shipping the goods from the New Jersey office to the customers’

United States locations were billed to the customers separately from the price of the

goods. Id. Trial testimony also established that while the goods were being shipped

from Switzerland to the United States, Orbisphere maintained an open freight insur­

ance policy on the goods, and that any loss of the goods while in transit would be

for Orbisphere’s account, not the customer’s. Id. at 1348.

      Referring to the decision in United States v. Massce & Co., et. al., 22 C.C.P.A.

54 (1933), the Orbisphere court noted that purchase orders had been placed in the

United States before the goods were exported from their foreign country of origin.

Id. at 1351. The key issue, the Orbisphere court noted, “depends substantially upon
                                          37
           Case: 24-1142     Document: 11      Page: 45   Filed: 03/01/2024




where the sales of the product are deemed to have occurred.” Id. at 1350. Holding

that the sales from Orbisphere to its customers were domestic sales, and that there

was no international sale which could have formed the basis for a transaction value,

the Court noted (id. at 1351):

      Because the present case involves statutes, legal issues, and facts simi­
      lar to those in Massce, the doctrine of stare decisis would seem to re­
      quire a similar outcome here. In fact such an outcome seems to be re­
      quired even a fortiori here: while the incorporation status of the plain­
      tiffs in Massce is not wholly clear from that decision, in the present case
      both Orbisphere and Orbisphere Labs were American corporations, in­
      corporated in Delaware, at the time of the sales at issue; moreover,
      while it is also unclear what, if any, terms were included on sales or
      shipping documents used in the Massce transactions, the invoices used
      by Orbisphere to document the transactions at issue here, supported by
      testimony at trial, clearly states that the orders were acceptable at New
      Jersey, and that title and risk of loss of the goods passed to the purchas­
      ers at that location.

      The Court also focused on the place where the orders were accepted, noting

that Orbisphere’s United States offices accepted orders from United States custom­

ers, and that its Swiss office had no communication with the domestic purchasers of

the merchandise. In the instant case, all orders are accepted by Midwest’s office in

Minnesota. Customers have no communication with the warehouse, and are likely

unaware that Midwest kept its inventory in Canada. Indeed, the warehouse had no

capacity to accept orders, as all order acceptance was done at plaintiff’s Cannon

Falls, Minnesota headquarters office.




                                          38
          Case: 24-1142     Document: 11      Page: 46   Filed: 03/01/2024




      The decision in Orbisphere is directly applicable to the instant case, and this

Court should adopt the lower court’s reasoning in Orbisphere as its own. The Trade

Court in this case held Orbisphere inapplicable because it was based on adoption of

the rule from Massce, a case decided under an earlier version of the value statute.

However, in deciding issues such as what constitutes a “sale for export to the United

States” this Court has repeatedly looked to precedents under earlier version of the

Customs valuation statute. See e.g, Nissho-Iwai American Corp, v United States, 982

F.2d 505 (Fed Cir. 1992); E.C. McAfee Co. v. United States, 842 F.23 314 (Fed. Cir.

1988); United States v. Getz Bros & Co., 55 C.C.P.A. 11 (1967); R. J. Saunders v.

United States, 42 C.C.P.A 55, 59 (1955); United States v. S.S. Kresge Co. et al, 26

C.C.P.A. 349 (1939). While the Trade Agreements Act of 1979, Pub. L. 96-39, 93

Stat. 144 (1979), adopted a positive system of Customs valuation instead of the for­

mer “notional” valuation scheme, certain basic commercial concepts - such as what

constitutes a “sale,” where a sale takes place, and whether a sale is a cross-border

one - remain unchanged. This Court may certainly look to cases decided under pre-

1979 law to define these concepts and apply them to the current statute.

      It is overwhelmingly clear that a sale made on “FOB Buffalo, New York, as

defined in the New York Uniform Commercial Code” terms is a sale occurring within

New York State and is not an international sale or a “sale for exportation.” That the

goods may be sold on “FOB” terms within the U.S. before they are imported does


                                         39
             Case: 24-1142   Document: 11      Page: 47   Filed: 03/01/2024




not transform a domestic sale into a sale for exportation. See e.g., Synergy Sport

International v. United States, 17 C.I.T. 18, 20 (1993).17 As the leading commentary

on the GATT Customs Valuation Code (which is the basis for the U.S. value statute)

indicates:

      The fact that the goods have been resold by the importer to a customer
      in the country of importation before they are imported does not alter the
      TV [transaction value analysis], at least if the original importer is still
      the importer or consignee and title passes through him to the later pur­
      chaser or if the customs value can be declared in his name.

See Sherman and Glashoff, Customs Valuation: Commentary on the GATT Customs

Valuation Code (2d ed.) at | 186.18 The original owner (z.e., Midwest), is still the

consignee of the goods, title passes through it to subsequent purchasers, and, at the

time of entry, the Customs entry is filed in Midwest’s name, as Midwest holds title

to the goods.




17 Similarly, if, when Midwest had warehouses in Minnesota and Tennessee, a
United States customer had placed a sale before goods were imported and available
at the warehouse, this circumstance would not have transformed those customer
sales into “sales for exportation to the United States.”
18 The same treatise also suggests that if a company acquires title to merchandise in
a foreign country, and consigns it to himself in the country of importation, that could
indicate that the price paid to the foreign supplier should be taken as the basis of a
transaction value. Id., T[187. This notion would support appraising Midwest’s goods
on the basis of “transaction value,” based on the prices Midwest pays to its various
foreign vendors. The only impediment to applying this rule is that the goods are sent
to Canada before being consigned into the United States.
                                          40
           Case: 24-1142     Document: 11      Page: 48   Filed: 03/01/2024




      We have found no authority for the proposition that CBP may change the

terms of a clearly defined sales transaction, to convert it from a domestic one to a

“sale for exportation to the United States.”

IV.   Midwest’s “FOB Buffalo, New York” Sales Cannot be Characterized as
      the Sales Which “Most Directly Caused the Exportation” of the Goods.

      Lacking any sale of the imported merchandise other than Midwest’s “FOB

Buffalo New York” sales to its customers, one might take the position that, but for

these sales, the goods would not have been imported into the United States. In

Brosterhous v. United States, 737 F. Supp. 1197, 1199 (Ct. Int’l Tr. 1990), the Trade

Court ruled that the “sale for exportation” for purposes of calculating a “transaction

value” of imported merchandise, was the sale which most directly caused the goods

to be exported to the United States. However, in Nissho-Iwai American Corp. v.

United States, 982 F.2d 505, 511 (Fed. Cir 1992), this Court directly overruled

Brosterhous, stating that:

      “(W]e can discern nothing in the legislative history of the 1979 amend­
      ment that suggests that Customs, in determining the transaction value
      of imported merchandise, should undertake an investigation focusing
      on which of two transactions most directly caused the exportation. The
      “Customs policy” followed by Brosterhous proceeds from an invalid
      premise. To the extent Brosterhous ... require[s] a weighing of the rel­
      ative importance of two viable transactions, it is overruled.”

While the instant case does not involve “two transactions,” neither does it involve a

“sale for exportation to the United States.” The fact that Midwest’s FOB Buffalo,



                                         41
           Case: 24-1142     Document: 11      Page: 49    Filed: 03/01/2024




New York sales formed a reason for the exportation of the goods from Canada to the

United States does not transform a purely domestic sale into a “sale for exportation.”

V.    Deductive Value Appraisement is the Proper Methodology Under 19
      U.S.C. § 1401a.

      Where, as here, goods are entered into the U.S. on consignment, transaction

value appraisement does not apply. In VWP ofAm., Inc. v. United States, 117 Fed.

Appx. 113, 115-116 (Fed. Cir. 2004), this Court explained the sequential application

of the appraisement methods of Section 402:

      In the event that the transaction value of the imported merchandise can­
      not be calculated, the merchandise should next be appraised based on
      the transaction value of identical or similar merchandise. See id.
      §§ 1401a(a)(l)(B) & (C). This transaction value must be calculated
      from imported merchandise that is “(A) with respect to the merchandise
      being appraised, either identical merchandise or similar merchandise,
      as the case may be; and (B) exported to the United States at or about
      the time that the merchandise being appraised is exported to the United
      States.” Id. § 1401a(c)(l).

      The next preferred appraisal value, if identical or similar merchandise
      is not available, is “deductive value.” id. § 1401a(a)(l)(D). Deductive
      value is equal to the resale price in the United States, less certain com­
      missions, costs, and duties. Id. § 1401a(d)(3)(A). If deductive value, too,
      is unavailable, Customs may turn to “computed value,” id.
      § 1401a(a)(l)(E), which reflects the sum of production and material
      costs of the imported merchandise, plus profits and general expenses
      from sales of merchandise of the “same class or kind as the imported
      merchandise,” id. § 1401a(e)(l). In the event that none of the valuation
      methods described in section I40Ia(a)(l)(A)-(E)can be used, Customs
      may resort to section 1401a(f), z'<7. § methods set forth in ... subsections
      [(b) through (e)], with such methods being reasonably adjusted to the
      extent necessary to arrive at a value,” id. § 1401a(f)(l).



                                          42
           Case: 24-1142     Document: 11      Page: 50    Filed: 03/01/2024




See also e.g., Customs Headquarters Ruling Hl 65361 ofNovember 1, 2011 (“How­

ever, in order to use transaction value as the basis for appraisement, there must be a

bona fide sale. If there is no sale, as in the case of merchandise imported under con­

signment, then appraisement must be based on another method set forth in 19 U.S.C.

§ 1401a, the valuation statute, taken in sequential order.”).

      Here, Midwest moves the goods from its Woodbridge warehouse into the U.S.

on consignment without any transfer of title or risk of loss. It is well-settled that an

international consignment of goods is not a “sale,” and certainly not a “sale for ex­

portation to the U.S.” Accordingly, transaction value cannot serve as the basis of

appraising the goods. Where transaction value appraisement under 19 U.S.C.

§ 1401a(b) is unavailable, “the merchandise should next be appraised based on the

transaction value of identical or similar merchandise.” VWP of Am., at 115 (citing

19 U.S.C. §§ 1401a(a)(l)(B) & (C)). This method of appraisement is unavailable in

this case, as Midwest does not sell identical or similar goods for export to the United

States to any customers. In such situations, Section 402 indicates that deductive

value appraisement is appropriate. Id. at § 1401a(a)(I)(D) Alternatively, the goods

may be appraised according to the residual appraisement provided in § 1401 a(f).




                                          43
           Case: 24-1142     Document: 11      Page: 51    Filed: 03/01/2024




                                  CONCLUSION

      For all of the foregoing reasons, Plaintiff-Appellant, Midwest-CBK LLC, re­

spectfully requests that this Court vacate the opinion and judgment of the CIT, hold

that the subject goods in the protested entries be liquidated according to the “deduc­

tive value” appraisement methodology, and remand this action to the Court of Inter­

national Trade for further proceedings consistent with its holding.

                                               Respectfully submitted.

                                                /s/ John M, Peterson
                                              John M. Peterson
                                              Counsel of Record
                                              Patrick B. Klein
                                              NEVILLE PETERSON LLP
                                              55 Broadway, Suite 2602
                                              New York, NY 10006
                                              (212) 635-2730
                                              jpeterson@npwny.com

                                              Richard F. O’Neill
                                              NEVILLE PETERSON LLP
                                              701 Fifth Ave, Ste. 4200-2159
                                              Seattle, WA 98104
                                              (206) 905-3648
                                              roneill@npwny.com

                                              Attorneys for Plaintiff-Appellant
March 1,2024




                                         44
          Case: 24-1142     Document: 11    Page: 52   Filed: 03/01/2024




                  CERTIFICATE OF COMPLIANCE WITH
                     TYPE-VOLUME LIMITATIONS

I hereby certify that the foregoing Principal Brief of Plaintiff-Appellant Midwest-

CBK LLC., complies with the relevant type-volume limitation of the Federal Rules

of Appellate Procedure and Federal Circuit Rules. It was prepared using a propor­

tionally-spaced typeface and includes 10,647 words.



                                             /s/ John M. Peterson
                                                John M. Peterson

March 1,2024
           Case: 24-1142     Document: 11     Page: 53    Filed: 03/01/2024




                           CERTIFICATE OF SERVICE

I hereby certify that on this 1st day of March, 2024,1 electronically filed the forego­

ing Principal Brief of Midwest-CBK LLC., with the Clerk of the Court for the United

States Court of Appeals for the Federal Circuit through the Court’s CM/ECF system.

Participants in this case who are registered CM/ECF users will be served by the

appellate CM/ECF system.



                                               /s/ John M. Peterson
                                                  John M. Peterson

March 1,2024
      CaseCase:  24-1142   Document:
           l:17-cv-00154-JCG         11 89
                               Document  Page:Filed
                                               54 10/20/23
                                                    Filed: 03/01/2024
                                                               Page 1 of 1




         UNITED STATES COURT OF INTERNATIONAL TRADE


 MIDWEST-CBK, LLC,

        Plaintiff,
                                           Before: Jennifer Choe-Groves, Judge
 v.
                                           Consol. Court No. 17-00154
 UNITED STATES,

        Defendant.


                                   JUDGMENT

      This case having been duly submitted for decision, and the Court, after due

deliberation, having rendered a decision, now therefore, in conformity with said

decision, it is hereby

      ORDERED that Plaintiff’s Motion for Final Judgment of Dismissal to be

Entered, ECF No. 87, is granted; and it is further

      ORDERED that Judgment is entered for the United States.

                                                      /s/ Jennifer Choe-Groves
                                                     Jennifer Choe-Groves, Judge

Dated: October 20, 2023
      New York, New York




                                    APPX0015
           Case: 24-1142     Document: 11     Page: 55    Filed: 03/01/2024




                                  Slip Op. 23-154

         UNITED STATES COURT OF INTERNATIONAL TRADE


 MIDWEST-CBK, LLC,

        Plaintiff,
                                            Before: Jennifer Choe-Groves, Judge
 v.
                                            Consol. Court No. 17-00154
 UNITED STATES,

       Defendant.


                                     OPINION

[Granting Plaintiffs motion for final judgment of dismissal.]

                                                            Dated: October 20, 2023

John M, Peterson and Patrick B. Klein, Neville Peterson, LLP, of New York, N.Y.,
for Plaintiff Midwest-CBK, LLC.

Monica P. Triana and Brandon A, Kennedy, Trial Attorneys, International Trade
Field Office, U.S. Department of Justice, of New York, N.Y., for Defendant.

      Choe-Groves, Judge: Before the Court is Plaintiff Midwest-CBK, LLC’s

Motion for Final Judgment of Dismissal to be Entered. Pl.’s Mot. Final J.

Dismissal Entered (“Pl.’s Mot.”), ECF No. 87. At the request of the Parties, the

Court bifurcated this case into two phases. Order (May 10, 2021), ECF No. 52. In

Phase I, the Court held that Plaintiffs import transactions constituted a sale “for

exportation to the United States” and that the subject entries were not deemed




                                     APPX0016
           Case: 24-1142     Document: 11      Page: 56    Filed: 03/01/2024

Consol. Court No. 17-00154                                                       Page 2


liquidated by operation of law. Midwest-CBK, LLC v. United States, 46 CIT               ,

578 F. Supp. 3d 1296 (2022). Remaining for Phase II are questions of valuation of

the subject merchandise.

      Plaintiff filed a status report on September 8, 2023, informing the Court that

“it will not be able to provide further evidence relating to the issues to be addressed

in Phase II of this litigation.” Pl.’s Status Rep., ECF No. 86. Plaintiff explained

that Defendant has requested the production of all evidence necessary to determine

a dutiable value for the subject merchandise. Id. at 1; see also Pl.’s Mot. at 1.

Though Plaintiff concedes that the production request is not per se unreasonable,

Plaintiff argues that its business model and the considerable number of individual

sales of goods that entered the United States would require “years of work and

hundreds of thousands of dollars in expense” to comply. Pl.’s Status Rep. at 1-2;

see also Pl.’s Mot. at 1-2. Plaintiff further advises the Court that it maintains its

corporate existence, but ceased doing business in 2018. Pl.’s Status Rep. at 1; see

also Pl.’s Mot. at 1.

      Plaintiff moves the Court to enter a final judgment of dismissal against

Plaintiff based on the findings of the Court’s prior opinion.1 Pl.’s Mot. at 2-3.

Entry of a final judgment would permit Plaintiff to appeal the Phase I holdings to



1 Plaintiff stresses that it consents only to a form of judgment of dismissal, not a
stipulated judgment. Pl.’s Mot. at 3^4.




                                      APPX0017
           Case: 24-1142     Document: 11     Page: 57    Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 3


the U.S. Court of Appeals for the Federal Circuit (“CAFC”). Plaintiff stipulates

that should the CAFC affirm the Court’s final judgment, Plaintiff will abandon all

further claims in this case. Id. at 3. Plaintiff also stipulates that should the CAFC

reverse the Court’s holding, Plaintiff will present no further evidence as to the

calculation of transaction value. Id. Defendant United States consents to the

motion. Id. at 4.

      Rule 41(a)(2) provides that “an action may be dismissed at the plaintiffs

request only by court order, on terms that the court considers proper.” USCIT R.

41(a)(2). The Court is obligated to resolve cases in a “just, speedy, and

inexpensive” manner. USCIT R. 1. The Court concludes that dismissal is proper

in this case because doing so would effectuate resolution of the dispute and avoid

potentially time-consuming and costly litigation. Plaintiff has expressed its

intention to appeal the Court’s Phase I holding. Because an appeal is likely to

reduce or eliminate the need for prolonged litigation, the Court is persuaded by

Plaintiffs argument that it would be impractical and costly to require the Parties to

engage in expensive Phase II discovery at this time.

      Upon consideration of Plaintiff s Motion for Final Judgment of Dismissal to

be Entered, and all other papers and proceedings in this action, it is hereby




                                     APPX0018
          Case: 24-1142    Document: 11   Page: 58   Filed: 03/01/2024

Consol. Court No. 17-00154                                               Page 4


      ORDERED that Plaintiffs Motion for Final Judgment of Dismissal to be

Entered, ECF No. 87, is granted.

      Judgment shall issue accordingly.

                                                  ZsZ Jennifer Choe-Groves
                                                 Jennifer Choe-Groves, Judge

Dated: October 20, 2023
      New York, New York




                                   APPX0019
          Case: 24-1142     Document: 11     Page: 59   Filed: 03/01/2024




                                 Slip Op. 22-51

         UNITED STATES COURT OF INTERNATIONAL TRADE


 MIDWEST-CBK, LLC,

       Plaintiff,
                                           Before: Jennifer Choe-Groves, Judge
 v.
                                           Consol. Court No. 17-00154
 UNITED STATES,

       Defendant.


                            OPINION AND ORDER

[Denying Plaintiffs motion for partial summary judgment and granting
Defendant’s cross-motion for partial summary judgment regarding whether sales of
giftware, houseware, and decorative items imported by Plaintiff were “for
exportation to the United States” and whether certain subject entries should have
been deemed liquidated by operation of law.]

                                                         Dated: May 20, 2022

John M. Peterson and Patrick B. Klein, Neville Peterson, LLP, of New York, N.Y.,
argued for Plaintiff Midwest-CBK, LLC. With them on the reply brief was
Richard F. O’Neill.

Monica P, Triana and Brandon A. Kennedy, Trial Attorneys, International Trade
Field Office, U.S. Department of Justice, of New York, N.Y., argued for
Defendant. With them on the brief were Brian M. Boynton, Acting Assistant
Attorney General, Jeanne E. Davidson, Director, and Justin R. Miller, Attomey-in-
Charge, International Trade Field Office. Of counsel on the brief was Mathias
Rabinovitch, Office of Assistant Chief Counsel for International Trade Litigation,
U.S. Customs and Border Protection. With them on the reply brief was Patricia M.
McCarthy, Director.




                                   APPX0033
           Case: 24-1142     Document: 11     Page: 60     Filed: 03/01/2024

Consol. Court No. 17-00154                                                        Page 2


      Choe-Groves, Judge: Plaintiff Midwest-CBK, LLC (“Plaintiff’) is a

Minnesota-based retailer and wholesaler of Christmas ornaments, nutcrackers,

wood carvings, and similar decorative articles that are manufactured in China.

Plaintiff commenced this action to contest the denial by U.S. Customs and Border

Protection (“Customs”) of Plaintiff s protest against liquidation and reliquidation

of subject merchandise imported into the United States. Compl. at 1, ECF No. 8.

Plaintiff contends that Customs appraised its merchandise improperly on the basis

of transaction value because Plaintiffs sales to customers were not “for

exportation to the United States” under 19 U.S.C. § 1401 a(b)( 1), erred in its

calculation during liquidation, and failed to liquidate certain entries that should

have been deemed liquidated by operation of law. Id. at 7-12.

      At the request of the Parties, this case was bifurcated into two phases. Order

(May 10, 2021) (“Bifurcation Order”), ECF No. 52. Phase One is limited to the

questions: (1) whether Plaintiffs import transactions reflect a sale “for exportation

to the United States” and (2) whether the subject entries became deemed liquidated

by operation of law. Id. at 1. Whether a sale is “for exportation to the United

States” is a threshold question for determining the appropriate method of valuation.

See 19 U.S.C. § 1401a. Phase Two will encompass all remaining issues, including

the determination of the proper method of valuing the subject merchandise and




                                     APPX0034
           Case: 24-1142     Document: 11      Page: 61    Filed: 03/01/2024

Consol. Court No. 17-00154                                                       Page 3


whether Customs’ calculation of the transaction value during liquidation was

correct. Bifurcation Order at 1.

      Plaintiff filed a Motion for Partial Summary Judgment arguing that its

subject merchandise cannot be appraised on the basis of transaction value because

Plaintiff’s sales to customers within the United States were not “sales for

exportation to the United States.” See Pl.’s Mot. Partial Summ. J. (“Plaintiffs

Motion” or “Pl.’s Mot.”), ECF No. 56; Pl.’s Mem. P. & A. Supp. Mot. Partial

Summ. J. (“Plaintiffs Brief’ or “Pl.’s Br.”), ECF No. 56-1. Defendant United

States (“Defendant”) filed a Cross-Motion for Partial Summary Judgment arguing

that Plaintiffs sales were “for exportation to the United States” under 19 U.S.C.

§ 1401 a(b)(l), that transaction value is the proper basis of appraisal for the subject

merchandise, and that the subject entries should not have been deemed liquidated

by operation of law. See Def.’s Cross-Mot. Partial Summ. J. (“Defendant’s Cross­

Motion” or “Def.’s Cross-Mot.”), ECF No. 61; Def.’s Mem. Opp’n Pl.’s Mot.

Partial Summ. J. and Supp. Def.’s Cross-Mot. Partial Summ. J. (“Defendant’s

Brief’ or “Def.’s Br.”), ECF No. 61.

      The Court concludes that under Phase One of the bifurcated action,

Plaintiffs sales of the subject merchandise were sales “for exportation to the

United States” and the subject entries should not have been deemed liquidated by

operation of law. The proper method of valuing the subject merchandise is not a




                                      APPX0035
           Case: 24-1142     Document: 11        Page: 62     Filed: 03/01/2024

Consol. Court No. 17-00154                                                         Page 4


question within the scope of Phase One of this action. Accordingly, the Court

denies Plaintiff’s Motion for Partial Summary Judgment and grants Defendant’s

Cross-Motion for Partial Summary Judgment.

                                 BACKGROUND

       The Parties have submitted separate statements of undisputed material facts.

See Pl.’s Statement of Material Facts Not in Dispute (“Pl.’s SMF”), ECF No. 56-2;

Def.’s Statement of Undisputed Material Facts (“Def.’s SMF”), ECF No. 61-1;

Def.’s Resp. Pl.’s Statement of Material Facts (“Def.’s Resp.”), ECF No. 61-2;

Pl.’s Resp. Def.’s Statement of Material Facts (“Pl.’s Resp.”), ECF No. 64-1.

       The following facts are not in dispute:

       Plaintiff is a Delaware limited liability company. Pl.’s SMF        1 at 1; Def.’s

Resp. at 1. Plaintiff was founded as Midwest of Cannon Falls, Inc. in 1953 as a

wholesaler of seasonal items. Pl.’s SMF 2 at 1; Def.’s SMF            1 at 1; Def.’s Resp.

at 1-2; Pl.’s Resp. at 1. Midwest of Cannon Falls, Inc. maintained its headquarters

and warehouse facility in Cannon Falls, Minnesota. Def.’s SMF 2 at 1; Pl.’s

Resp. at 1. Merchandise was imported from foreign suppliers and sold to

customers in the United States through a catalogue and staff of sales

representatives. Pl.’s SMF    3 at 1-2; Def.’s SMF          3-4 at 1-2; Def.’s Resp. at 2;

Pl.’s Resp. at 1.




                                     APPX0036
           Case: 24-1142       Document: 11     Page: 63     Filed: 03/01/2024

Consol. Court No. 17-00154                                                          Page 5


       In 2009, Midwest of Cannon Falls, Inc. was acquired by Blyth, Inc. and

merged with CBK Holdings Group, forming Midwest-CBK, Inc. Pl.’s SMF 4 at

2; Def.’s Resp. at 2. Midwest-CBK, Inc. maintained its headquarters, operations,

and sales offices in Cannon Falls, Minnesota and relocated its warehouse and

inventory to Union City, Tennessee. Pl.’s SMF 4 at 2; Def.’s Resp. at 2. In

December 2012, the assets of Midwest-CBK, Inc. were acquired by the Ganz

family, a group of Canadian investors. Pl.’s SMF         6 at 2; Def.’s SMF 7 at 2;

Def.’s Resp. at 2-3; Pl.’s Resp. at 2. The assets of Midwest-CBK, Inc. were

transferred to Plaintiff Midwest-CBK, LLC. Pl.’s SMF           6 at 2; Def.’s SMF     8 at

2; Def.’s Resp. at 2-3; Pl.’s Resp. at 2.

       Following its acquisition by the Ganz family, Plaintiff maintained its

corporate office in Cannon Falls, Minnesota, which housed the product

development, supply chain, procurement, purchasing, compliance, financial

analysis, planning, accounting, and sales management departments. Def.’s SMF

T| 13 at 3; Pl.’s Resp. at 3. Plaintiff relocated its inventory, distribution,

warehousing, invoicing, and order control departments to Ontario, Canada, where

it leased a warehouse, storage space, and a two-story office building from other

entities controlled by the Ganz family. Def.’s SMF          14-18 at 3-4; Pl.’s Resp. at

3-4. Plaintiff also operated a data center and showroom in Ganz-owned properties

in Ontario, Canada. Def.’s SMF         23-25 at 5; Pl.’s Resp. at 5. Approximately




                                       APPX0037
           Case: 24-1142     Document: 11     Page: 64     Filed: 03/01/2024

Consol. Court No. 17-00154                                                       Page 6


twenty-two employees worked in the Ontario, Canada facility in the order

processing, inventory control, customer service, key accounts, information

technology, and customer accounts departments. Def.’s SMF           19 at 4; Pl.’s Resp.

at 4. Plaintiff opened Canadian bank accounts for payroll, rent, and other expenses

associated with its Canadian operations. Pl.’s SMF       8 at 3; Def.’s Resp. at 3.

      Plaintiffs business model involved purchasing merchandise from foreign

suppliers for exportation to Canada. Pl.’s SMF      11 at 3; Def.’s SMF 27 at 5;

Def.’s Resp. at 4; Pl.’s Resp. at 6. Merchandise was imported into Canada at the

Port of Vancouver, British Columbia and transported to Plaintiffs Ontario, Canada

warehouse. Pl.’s SMF 111 at 3; Def.’s SMF 27 at 5; Def.’s Resp. at 4; Pl.’s

Resp. at 6. Plaintiff employed a United States sales staff to solicit orders from

customers within assigned geographic territories. Pl.’s SMF       14 at 4; Def.’s SMF

T| 30 at 6; Def.’s Resp. at 5; Pl.’s Resp. at 6. Sales representatives accepted orders

using electronic devices loaded with two point-of-sale software systems, Enum and

WhereOWare. Def.’s SMF          31-32 at 6; Pl.’s Resp. at 7. When a completed

order was accepted into either system, it was made available to Plaintiffs

personnel in Cannon Falls, Minnesota and Ontario, Canada. Def.’s SMF 133 at 6;

Pl.’s Resp. at 7. Purchase orders provided to customers included the language:

“All prices [Free on Board (“FOB”)] Buffalo, New York as defined by the New




                                     APPX0038
           Case: 24-1142     Document: 11      Page: 65    Filed: 03/01/2024

Consol. Court No. 17-00154                                                       Page 7


York State Uniform Commercial Code.” Def.’s SMF             36-38 at 7; Def.’s Resp.

at 7-8.

      Purchase orders were usually first accessed and reviewed by Plaintiffs

Order Processing Department in Canada. Def.’s SMF          35 at 7; Pl.’s Resp. at 7;

see also Pl.’s Mot. Partial Summ. J., Ex. B (“Pl.’s Basis of Appraisement Letter”)

at 4, ECF No. 56-3. Employees at the Canadian facility confirmed the availability

of merchandise located in Canada in an inventory control system, collected

merchandise from the Canadian warehouse, packaged merchandise for shipment,

attached waybills for customers’ designated domestic carriers, and loaded

shipments onto trucks for transport to the United States. Pl.’s SMF         18, 20-22,

24 at 5, 6; Def.’s SMF     41, 43-51 at 7-8; Def.’s Resp. at 6-7; Pl.’s Resp. at 8-

10.

      Plaintiff engaged a third-party overland truck carrier to transport

merchandise from its facility in Ontario, Canada to Buffalo, New York. Pl.’s SMF

   23, 25 at 5, 6; Def.’s Resp. at 7. Plaintiff acted as the importer of record for the

merchandise and was responsible for all duties. Pl.’s SMF 26 at 6; Def.’s SMF

T| 59 at 10; Def.’s Resp. at 7; Pl.’s Resp. at 11. Upon arrival in Buffalo, New York,

merchandise was delivered to domestic earners designated by Plaintiffs customers

or to a facility rented by Plaintiff from United Parcels Service (“UPS”). Pl.’s SMF

 27 at 6; Def.’s Resp. at 7-8. UPS employees deconsolidated shipping boxes,




                                     APPX0039
           Case: 24-1142     Document: 11     Page: 66    Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 8


scanned shipping labels, and shipped merchandise to Plaintiffs United States

customers. Def.’s SMF        60-61 at 10-11; Pl.’s Resp. at 12.

      Invoices were prepared in Ontario, Canada and couriered to Buffalo, New

York for mailing. Def.’s SMF       63-65, 67 at 11; Pl.’s Resp. at 12, 13.

Customers were directed to remit physical payments to a post office box in

Buffalo, New York. Def.’s SMF        68 at 11; Pl.’s Resp. at 13. Plaintiff engaged a

bank’s lockbox service to collect and deposit the payments. Def.’s SMF        69 at

12; Pl.’s Resp. at 13.

      The Parties do not dispute whether Plaintiff imported the subject

merchandise into the United States. Plaintiff advised Customs in 2013 that

Plaintiff imported merchandise from foreign manufacturers into Canada, where

merchandise was stored until sold. Pl.’s Basis of Appraisement Letter at 2^4; Pl.’s

SMF T| 34 at 7; Def.’s SMF     73 at 12; Def.’s Resp. at 9; Pl.’s Resp. at 14. After

receiving a sales order, merchandise was transported from Plaintiffs Canadian

warehouse to the United States for delivery to customers with shipments

designated as FOB Buffalo, New York. Pl.’s Basis of Appraisement Letter at 2-4;

Pl.’s SMF H 34 at 7; Def.’s SMF     73 at 12; Def.’s Resp. at 9; Pl.’s Resp. at 14.

Plaintiff described the same process in 2015 when it requested that Customs seek

internal advice on the proper method of valuation. Def.’s Cross-Mot. Partial

Summ. J., Ex. 20 (“Def.’s Request for Internal Advice”). At oral argument,




                                     APPX0040
           Case: 24-1142     Document: 11     Page: 67    Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 9


Defendant offered a similar description of Plaintiff s importation process of subject

merchandise:

      [Plaintiff] purchased [the] merchandise at issue from a manufacturer in
      China and it was imported directly from China to [Plaintiffs] facilities
      in Canada. The merchandise remained at [Plaintiffs] Canadian
      facilities until a sale was made. And when a sale was made to a specific
      U.S. customer, [Plaintiff] caused the goods to be picked, packed, and
      labeled for that specific U.S. customer in Canada and [Plaintiff] would
      export the merchandise out of Canada and into the United States for the
      first time based on that specific sale. [Plaintiff] arranged for this exact
      process to apply to each of the sales that are at issue here.

Oral Arg. at 28:22-29:00, Mar. 22, 2022, ECF No. 70. This description of

Plaintiffs importation process is also consistent with the Parties’ written

submissions to the Court. Compl. at 2-5; Pl.’s Br. at 8-12; Def.’s Br. at 6-13.

Neither Party has disputed Plaintiffs sale and importation of the subject

merchandise at issue in this case. It is also undisputed that the sales transactions

for the relevant entries involved FOB Buffalo, New York shipping terms. Pl.’s

SMF    33 at 7; Def.’s Resp. at 9. The Court finds that the following facts are

undisputed: (1) the subject merchandise was imported from foreign countries to

Canada; (2) the subject merchandise was based in Canada at the time of sale; (3)

the subject merchandise was packaged and sent from Canada to the United States

after sales orders were received; (4) the subject merchandise was clearly destined

for the United States at the time of sale; and (5) the subject merchandise was sold

and exported from Canada to customers based in the United States.




                                     APPX0041
           Case: 24-1142     Document: 11     Page: 68     Filed: 03/01/2024

Consol. Court No. 17-00154                                                       Page 10


      In 2013, Plaintiff advised Customs that Plaintiff had changed its operations

model and would enter merchandise on the basis of its deductive value, in

accordance with 19 U.S.C. § MOla(d).1 Pl.’s Basis of Appraisement Letter; Pl.’s

SMF H 34 at 7; Def.’s SMF      73 at 12; Def.’s Resp. at 9; Pl.’s Resp. at 14.

Customs subsequently extended the deadline for liquidation of Plaintiff s entries

and initiated a Regulatory Audit to determine the proper basis of valuation. Pl.’s

SMF     35-36 at 7-8; Def.’s SMF        75-77 at 12-13; Def.’s Resp. at 9-10; Pl.’s

Resp. at 14. The audit involved multiple steps, including a risk assessment of the

relevant issues, the issuance of a questionnaire, a walkthrough of import practices

or entries, interviews with Plaintiffs personnel, and the issuance of a final report.

Def.’s SMF    80 at 13; Pl.’s Resp. at 15; see also Def.’s Cross-Mot. Partial Summ.

J., Ex. 19 (“Conrad Decl.”), ECF No. 61-4 (describing audit process). Customs

requested information from Plaintiff and conducted an on-site visit at the Ontario,

Canada facility. Def.’s SMF      81-82 at 13; Pl.’s Resp. at 15. The auditor’s

fieldwork also involved matching customer invoices with specific line items on

Plaintiffs entry paperwork. Def.’s SMF       85 at 14; Pl.’s Resp. at 16. More than

560 entries were subject to the audit. Def.’s SMF | 86 at 14; Pl.’s Resp. at 16.




1 The deductive value method bases valuation on the price of sale adjusted for
certain considerations, including transportation and insurance costs, duties and
taxes, and other general expenses. 19 U.S.C. § 1401a(d); 19 C.F.R. § 152.105.




                                     APPX0042
           Case: 24-1142     Document: 11    Page: 69    Filed: 03/01/2024

Consol. Court No. 17-00154                                                    Page 11


Customs completed its fieldwork on October 14, 2014. Def.’s SMF U 89 at 14;

Pl.’s Resp. at 16-17.

      Customs’ auditors issued a Draft Audit Report on July 1, 2015, concluding

that transaction value was the proper basis of appraisal for the subject merchandise.

Pl.’s Mot. Partial Summ. J., Ex. Q (“Draft Audit Report”), ECF No. 56-3; Pl.’s

SMF H 36 at 8; Def.’s SMF 199 at 16; Def.’s Resp. at 10; Pl.’s Resp. at 18.

Plaintiff submitted responsive comments on July 8, 2015. Pl.’s Mot. Partial

Summ. J., Ex. R (“Pl.’s Resp. Draft Audit Report”), ECF No. 56-3; Pl.’s SMF H 37

at 8; Def.’s SMF    100 at 15; Def.’s Resp. at 10; Pl.’s Resp. at 18. No additional

information was requested from Plaintiff. Pl.’s SMF 138 at 8; Def.’s Resp. at 10.

On August 20, 2015, Plaintiff requested advice from Customs’ Office of

Regulations and Rulings pursuant to 19 C.F.R. § 177.11 regarding the proper basis

for valuation of the subject merchandise. Def.’s SMF       103-04 at 16; Pl.’s Resp.

at 19. Customs issued a Final Audit Report to Plaintiff on February 24, 2016,

stating that the subject merchandise should be valued on the basis of transaction

value. Pl.’s Mot. Partial Summ. J., Ex. S (“Final Audit Report”), ECF No. 56-4;

Pl.’s SMF H 39 at 8; Def.’s SMF 1101 at 16; Def.’s Resp. at 10-11; Pl.’s Resp. at

19. On July 1, 2016, Customs issued Headquarters Ruling H275056, which also

determined that valuation on the basis of transaction value was proper. HQ




                                     APPX0043
           Case: 24-1142    Document: 11     Page: 70    Filed: 03/01/2024

Consol. Court No. 17-00154                                                   Page 12


H275056 (July 1, 2016); Pl.’s SMF 40 at 9; Def.’s SMF        114 at 18; Def.’s Resp.

at 11; Pl.’s Resp. at 21.

       On March 28, 2016, Customs officials at the Port of Buffalo, New York

issued a Form 29 Notice of Action indicating that Customs would liquidate certain

entries and that transaction value would be calculated using the original entered

values plus a 123.18% adjustment. Pl.’s Mot. Partial Summ. J., Ex. U, ECF No.

56-4; Pl.’s SMF H 42 at 9; Def.’s SMF    110 at 17; Def.’s Resp. at 11; Pl.’s Resp.

at 20. Plaintiff requested information from Customs about the basis of the

appraisal and requested an extension of the liquidation deadline. Pl.’s Mot. Partial

Summ. J., Ex. V, ECF No. 56-4; Pl.’s SMF 43 at 10; Def.’s SMF         111 at 17;

Def.’s Resp. at 11-12; Pl.’s Resp. at 21. Customs responded that the calculation

was based on financial information provided by Plaintiff for the year 2013. Pl.’s

Mot. Partial Summ. J., Ex. W, ECF No. 56-4; Pl.’s SMF 44 at 10; Def.’s Resp. at

12. Plaintiff submitted a response and argued that the proposed method of

calculation was based on multiple errors. Pl.’s Mot. Partial Summ. J., Ex. X, ECF

No. 56-4; Pl.’s SMF ^45 at 10-11; Def.’s SMF        112-13 at 17; Def.’s Resp. at

12; Pl.’s Resp. at 21. Three hundred thirty-six entries were liquidated using the

method described in Customs’ March 28, 2016 notice, including the application of

a 123.18% upward adjustment. Def.’s SMF        117 at 18; Pl.’s Resp. at 22. Plaintiff

protested the liquidation of these entries. Pl.’s Mot. Partial Summ. J., Ex. Y, ECF




                                    APPX0044
           Case: 24-1142     Document: 11     Page: 71    Filed: 03/01/2024

Consol. Court No. 17-00154                                                    Page 13


No. 56-4; Pl.’s SMF 146 at 11; Def.’s SMF | 120 at 18-19; Def.’s Resp. at 12;

Pl.’s Resp. at 22. Customs approved the protests in part and reduced the

adjustment to 75.75%. Pl.’s Mot. Partial Summ. J., Ex. Z, ECF No. 56-4; Pl.’s

SMF || 47^48 at 11; Def.’s SMF 1118 at 18; Def.’s Resp. at 12-13; Pl.’s Resp. at

22. Plaintiff protested the reliquidation. Pl.’s Mot. Partial Summ. J., Ex. AA, ECF

No. 56-4; Pl.’s SMF 149 at 11; Def.’s SMF | 122 at 19; Def.’s Resp. at 13; Pl.’s

Resp. at 23. Customs denied Plaintiffs protest. Pl.’s SMF | 50 at 11; Def.’s SMF

|| 122-23 at 19; Def.’s Resp. at 13; Pl.’s Resp. at 23.

      Plaintiff filed three cases in June and November 2017 contesting Customs’

denial of Plaintiff s protests. Summons, ECF No. 1; Summons, Midwest-CBK,

LLC v. United States, Court No. 17-00155, ECF No. 1; Summons, Midwest-CBK,

LLC v. United States, Court No. 17-00272, ECF No. 1. Plaintiff filed Complaints

in March 2019 in two of the cases. Compl.; Compl., Court No. 17-00155, ECF

No. 9. The third case remained on the Court’s Customs Case Management

Calendar. Order (Oct. 16, 2019), Court No. 17-00272, ECF No. 9. The Court

consolidated the three cases in May 2020 at the request of the Parties. Pl.’s Mot.

Consol., ECF No. 25; Pl.’s Consol. Compl., ECF No. 26; Order (May 21, 2020),

ECF No. 27.




                                     APPX0045
              Case: 24-1142   Document: 11    Page: 72     Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 14


                 JURISDICTION AND STANDARD OF REVIEW

      The Court has jurisdiction pursuant to 28 U.S.C. § 1581(a). The Court will

grant summary judgment if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law. USCIT

R. 56(a). To raise a genuine issue of material fact, a party cannot rest upon mere

allegations or denials and must point to sufficient supporting evidence for the

claimed factual dispute to require resolution of the differing versions of the truth at

trial. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248^49 (1986); Barmag

Barmer Maschinenfabrik AG v. Murata Mach,, Ltd., 731 F.2d 831, 835-36 (Fed.

Cir. 1984).

                                   DISCUSSION

      Plaintiff argues that Customs appraised the subject merchandise improperly

based on transaction value because the sales were domestic and not for exportation

to the United States. Pl.’s Br. at 14-32. Plaintiff also contends that certain subject

entries should have been deemed liquidated by operation of law because Customs

had no authority to extend the deadline for liquidation after June 14, 2015. Id. at

34-38. Defendant counters that the subject merchandise was destined for export to

the United States at the time of sale, there is no requirement for an international

sale, and transaction value is the appropriate method of appraising the subject




                                     APPX0046
           Case: 24-1142     Document: 11     Page: 73    Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 15


merchandise. Def.’s Br. at 21-38. Defendant also argues that Customs’

extensions of the liquidation deadline were proper. Id. at 39-44.

      I.     “For Exportation to the United States”

      In order to determine appropriate duties, Customs appraises merchandise at

the time of entry to ascertain its value. 19 U.S.C. § 1500. Transaction value is the

default method of appraising the value of imported merchandise. Id.

§ 1401a(a)(l); see also Trimil S.A. v. United States, 43 CIT     ,   , 419 F. Supp.

3d 1307, 1311 (2019) (“Whenever possible, Customs appraises imported

merchandise on the basis of its ‘transaction value.’”). Transaction value is defined

by statute as the “price actually paid or payable for the merchandise when sold for

exportation to the United States,” plus other considerations enumerated by statute.

19 U.S.C. § 1401a(b).

      Appraisal on the basis of transaction value has two requirements: (1) that the

merchandise is sold and (2) that the sale is for exportation to the United States. Id.;

VWP of Am., Inc, v. United States, 175 F.3d 1327, 1338-39 (Fed. Cir. 1999).

Only if transaction value cannot be determined or used should merchandise be

appraised by “looking to the secondary valuation methods in the order listed in

[section] 140 la(a)(l) until an appraisal is obtained.” VWP of Am., Inc., 175 F.3d

at 1330 (citing 19 U.S.C. § 1401a(a)(l)). Neither party contests that a bona fide

sale of merchandise occurred in this case. See Pl.’s Br. at 15; Def.’s Br. at 22.




                                     APPX0047
           Case: 24-1142      Document: 11     Page: 74     Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 16


      The Court determines whether merchandise is sold “for exportation to the

United States” based on a fact-specific inquiry that requires case-by-case analysis.

E.C. McAfee Co. v. United States, 842 F.2d 314, 319 (Fed. Cir. 1988). The

relevant factual inquiry for the Court is to examine “the reality of the transaction”

between the parties to the sale. Id. When goods are clearly destined for the United

States at the time of sale, the sale is for exportation to the United States. Id.

      After conducting a fact-specific inquiry of whether the sales were for

exportation to the United States under 19 U.S.C. § 1401a(b)(l), the Court

concludes that the undisputed evidence demonstrates that Plaintiffs sales were for

exportation to the United States at the time of sale. It is undisputed that when

Plaintiffs sales representatives accepted sales orders from customers within the

United States, the subject merchandise was stored in a warehouse facility in

Ontario, Canada at the time of sale. Pl.’s SMF       7, 14, 17 at 3, 4, 5; Def.’s SMF

   14-16, 30 at 3^4, 6; Def.’s Resp. at 3, 5-6; Pl.’s Resp. at 3-4, 6. The sales

orders were transmitted electronically and were usually first accessed and reviewed

by Plaintiffs Order Processing Department in Canada. Def.’s SMF             31-35 at 6-

7; Pl.’s Resp. at 7. Plaintiffs employees in Canada confirmed the availability of

the subject merchandise located in the Canadian warehouse, then collected,

packaged, and prepared the goods for shipment from the Canadian warehouse to

United States customers. Pl.’s SMF        18-22 at 5; Def.’s SMF       43-49 at 8-9;




                                      APPX0048
           Case: 24-1142     Document: 11     Page: 75    Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 17


Def.’s Resp. at 6-7; Pl.’s Resp. at 9-10. It is undisputed that upon receiving orders

from customers based in the United States, the subject merchandise was

transported from Plaintiff’s Ontario, Canada warehouse to Buffalo, New York,

where the merchandise was delivered to domestic carriers for distribution to United

States customers. Pl.’s SMF      23-25, 27 at 5-6; Def.’s Resp. at 7-8. Based on

the undisputed evidence and a fact-specific analysis of the record, the Court

concludes that the reality of the transaction establishes that the subject merchandise

was based in Canada at the time of sale, was clearly destined for the United States

at the time of sale, and Plaintiffs sales of the subject merchandise were for

exportation to the United States under 19 U.S.C. § 1401 a(b)( 1).

      Plaintiff argues that a sale “for exportation to the United States” imposes an

additional requirement that the sale must have occurred abroad or have an

international character.2 Pl.’s Br. at 16-18. Plaintiff contends that the individual

sales were negotiated and agreed to within the United States, that Plaintiff retained

title to the subject merchandise when the goods were shipped from Canada and

imported into the United States, and under the FOB shipping terms included by

Plaintiff on the purchase orders, that title transferred to the United States customers

only after the goods were imported into the United States and delivered to



2 Plaintiff uses the terms “international” and “abroad” interchangeably to describe
a sale that occurred outside of the United States.




                                     APPX0049
           Case: 24-1142     Document: 11     Page: 76    Filed: 03/01/2024

Consol. Court No. 17-00154                                                    Page 18


domestic carriers in Buffalo, New York for delivery, thus reflecting domestic sales

within the United States. Id. at 16-23.

      In support of its argument that there was no transfer of property until after

importation and thus no possible export or international sale to the United States

from which to calculate transaction value, Plaintiff relies mainly on Qrbisphere

Corp, v. United States (“Qrbisphere”), 13 CIT 866, 726 F. Supp. 1344 (1989). The

Court notes at the outset that Qrbisphere is a thirty-three-year-old case from the

U.S. Court of International Trade that applies an outdated statute that was amended

in 1979. In Qrbisphere, the court considered the method of valuation for oxygen

analyzing devices manufactured in Geneva, Switzerland by Orbisphere

Laboratories, a subsidiary of Orbisphere Corporation. Orbisphere, 13 CIT at 867,

726 F. Supp. at 1344. Orders accepted from customers in the United States were

forwarded to Orbisphere Laboratories in Geneva for manufacture. Id., 726 F.

Supp. at 1344 45. Completed orders were shipped to New Jersey, where they

were unpacked, inspected, repackaged, and shipped to customers. Id., 726 F.

Supp. at 1345.

      The court in Orbisphere reasoned that a determination of whether transaction

value may be used “depends substantially upon where the sales of the merchandise

are deemed to have occurred.” Id. at 872, 726 F. Supp. at 1348. The Orbisphere

court relied on the Court of Customs and Patent Appeals’ analysis in United States




                                     APPX0050
           Case: 24-1142     Document: 11      Page: 77    Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 19


v. Massce & Company (“Massce”), 21 CCPA 54 (1933), a case decided under a

predecessor to the current valuation statute. Orbisphere, 13 CIT at 875, 726 F.

Supp. at 1350. Relying on the 1933 Massce case, the Orbisphere court analogized

“transaction value” and “deductive value” under 19 U.S.C. § 1401a to “export

value” and “United States value” as they were used under the predecessor statute.

Id. at 875-76, 726 F. Supp. at 1350-51? The Massce court concluded that “where

offers of sale, agreements to sell, and sales are all made in the United States, and

none in a foreign country, there can not [sic] be an export value of the exported




      “Export value” under the predecessor statute was defined as:

      the market value or the price, at the time of exportation of such
      merchandise to the United States, at which such or similar merchandise
      is freely offered for sale to all purchasers in the principal markets of the
      country from which exported, in the usual wholesale quantities and in
      the ordinaiy course of trade, for exportation to the United States ....

Id. at 873-74, 726 F. Supp. at 1349 (quoting 19 U.S.C. § 1401a(b) (1964)).

      “United States value” was defined as:

      the price at which such or similar imported merchandise is freely
      offered for sale, packed ready for delivery in the principal market of the
      United States to all purchasers, at the time of exportation of the
      imported merchandise, in the usual wholesale quantities and in the
      ordinary course of trade, with allowance made for duty, cost of
      transportation and insurance, and other necessary expenses from the
      place of shipment to the place of delivery ....

Id. at 874, 726 F. Supp. at 1349-50 (quoting 19 U.S.C. § 1401a(b) (1964)).




                                     APPX0051
           Case: 24-1142     Document: 11     Page: 78    Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 20


merchandise involved in such transactions.” Massce, 21 CCPA at 60. The court in

Qrbisphere reasoned that the determinative factor between the use of “export

value” and “United States value” was whether the sale occurred within or outside

of the United States. Qrbisphere, 13 CIT at 876, 726 F. Supp. at 1351. Though

acknowledging that the definitions of “export value” and “transaction value” are

not identical, the court concluded that they were sufficiently similar to both require

a “sale abroad for export to the United States.” Id. at 875, 726 F. Supp. at 1350—

51.

      This Court does not find Qrbisphere persuasive due to its reliance on the

1933 Massce case pre-dating the relevant statutory amendments in the Trade

Agreements Act of 1979 that abandoned export value in favor of transaction value.

See Trade Agreements Act of 1979, Pub. L. No. 96-39, § 201(a), 93 Stat. 144,

194-201 (1979). Significantly, this Court notes that the language of the current

statute does not expressly require that a sale be international or occur abroad. The

1979 revision removed all references to foreign markets in which merchandise

might be traded. As the Senate Committee on Finance noted in its report on the

Trade Agreements Act of 1979:

      The use of transaction value as the primary basis for customs valuation
      will allow use of the price which the buyer and seller agreed to in their
      transaction as the basis for valuation, rather than having to resort to the
      more difficult concepts of “freely offered,” “ordinary course of trade,”




                                     APPX0052
            Case: 24-1142    Document: 11     Page: 79     Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 21


       “principal markets of the country of exportation,” and “usual wholesale
       quantities” contained in existing U.S. law.

S. Rep. No. 96-249, at 119 (1979). The U.S. Court of Appeals for the Federal

Circuit has also recognized that transaction value is a departure from the

complexities of export value. See Generra Sportswear Co. v. United States, 905

F.2d 377, 381 (Fed. Cir. 1990); see also VWP of Am., Inc., 175 F.3d at 1334-35

(recognizing the difference between “export value” and “transaction value” and

that the Trade Agreement Act of 1979 effectively repealed the prior valuation

statute).

       Moreover, Plaintiffs contention that a sale “for exportation to the United

States” requires an international sale or a sale abroad is contrary to existing case

law. In VWP of America, Inc, v. United States, 175 F.3d 1327, 1338-39 (Fed. Cir.

1999), the U.S. Court of Appeals for the Federal Circuit considered a three-tier

system involving a Canadian manufacturer that sold fabric to its wholly-owned

United States subsidiary for resale to buyers within the United States. VWP of

Am,, Inc., 175 F.3d at 1331. The VWP court held that the sales between the

Canadian manufacturer and United States distributor were sales for exportation to

the United States that served as the basis for transaction value, but noted that the

sales between the United States distributor and its domestic buyers could provide

an alternative basis for transaction value. Id. at 1334.




                                     APPX0053
           Case: 24-1142     Document: 11      Page: 80    Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 22


      The Court concludes that 19 U.S.C. § 1401a(b)(l) does not require an

international sale or sale abroad, but rather requires a sale for exportation to the

United States based on a fact-specific analysis of the reality of the transaction. As

noted previously, the undisputed evidence establishes that at the time of sale when

customers in the United States placed orders electronically with Plaintiff’s sales

representatives, the subject merchandise was located in Canada and was shipped

from the Canadian warehouse to customers in the United States. Thus, a sale for

exportation to the United States occurred based on the undisputed facts.

      Plaintiff argues that the Court should consider the intentions of Plaintiff and

its customers in determining whether the sales were “for exportation to the United

States.” See Pl.’s Br. at 23-24; Oral Arg. at 7:39-8:57, 1:01:10-1:01:30, Mar. 22,

2022, ECF No. 70. Plaintiff cites the existence of the shipping term “FOB Buffalo,

New York” printed on purchase orders as evidence of the intention of Plaintiff and

its customers to engage in domestic sales. See Pl.’s Br. at 23-24.

      The term “FOB” means “free on board” and denotes a “method of shipment

whereby goods are delivered at a designated location, usually a transportation

depot, at which legal title and thus the risk of loss passes from seller to buyer.”

Litecubes, LLC v. N, Lights Prods., Inc., 523 F.3d 1353, 1358 n.l (Fed. Cir. 2008).

The U.S. Court of Appeals for the Federal Circuit has held that a sale does not

necessarily occur at the location where the title to the goods passes under FOB




                                      APPX0054
           Case: 24-1142     Document: 11     Page: 81    Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 23


shipping terms, and that the location of a sale can be established by record

evidence notwithstanding an FOB shipping term. See, e.g., SEB S.A. v.

Montgomery Ward & Co., Inc., 594 F.3d 1360, 1375 (Fed. Cir. 2010) (recognizing

in a patent infringement case that an FOB shipping term is not dispositive when

considering whether a sale took place inside or outside the United States, while

noting that examination of the record evidence is critical to determining where the

sale took place); MEMC Elec. Materials, Inc, v. Mitsubishi Materials Silicon

Corp., 420 F.3d 1369, 1377 (Fed. Cir. 2005) (in a patent infringement case, finding

that a sale occurred in Japan when all the essential activities of a sale occurred

outside the United States and noting that despite an FOB delivery term, “the

criterion for determining the location of a ‘sale’ ... is not necessarily where legal

title passes”); N. Am. Philips Corp, v. Am. Vending Sales, Inc., 35 F.3d 1576,

1579 (Fed. Cir. 1994) (noting that appellee failed to explain why the criterion for

where a sale occurred should be the place where legal title passes rather than the

“more familiar places of contracting and performance”); see also E.C. McAfee Co.,

842 F.2d at 319 (concluding that a lack of knowledge that goods were destined for

the United States by one party to a transaction was irrelevant when determining

whether transaction value was appropriate). Accordingly, this Court does not

consider the existence of the delivery term “FOB Buffalo, New York” to be




                                     APPX0055
           Case: 24-1142     Document: 11     Page: 82    Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 24


dispositive evidence that sales of the subject merchandise were domestic and not

for export to the United States.

      The Court concludes that Plaintiff’s emphasis on the term “FOB Buffalo,

New York” is misplaced. The record does not establish that Plaintiff’s customers

in the United States intended to make a domestic purchase because there is no

evidence on the record that Plaintiff’s customers were aware of the location of the

products when placing their orders. Similarly, Plaintiff contends that the shipping

terms were “explicitly selected” but the record is silent on whether Plaintiff’s

customers negotiated the FOB Buffalo, New York terms of delivery. Pl.’s Br. at

23.

      The Court rejects Plaintiffs argument that inclusion of the term “FOB

Buffalo, New York” is dispositive evidence that Plaintiff and its customers

intended the sales to be domestic and not for export to the United States. Because

the undisputed facts establish that the subject merchandise was destined for the

United States at the time of sale when the customers based in the United States first

submitted their sales orders electronically to Plaintiffs Order Processing

Department in Canada, the Court holds that the sales of the subject merchandise

are “for exportation to the United States” pursuant to 19 U.S.C. § 1401a(b).




                                     APPX0056
            Case: 24-1142    Document: 11     Page: 83    Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 25


      II.    Deemed Liquidated By Operation of Law

      Plaintiff contends that Customs’ extensions of the liquidation deadline after

June 14, 2015 were unlawful and that entries subject to those extensions should be

deemed liquidated by operation of law pursuant to 19 U.S.C. § 1504. Pl.’s Br. at

34-38. Defendant opposes Plaintiffs liquidation contentions. Def.’s Cross-Mot.

at 3; Def.’s Br. at 39-44. The Court concludes that Customs’ extensions of the

relevant deadlines were in accordance with the law and that the subject entries

should not be deemed liquidated by operation of law.

      Merchandise entered for consumption not liquidated within one year of entry

are “deemed liquidated” by operation of law at the duty rate asserted by the

importer at the time of entry. 19 U.S.C. § 1504(a)(1). Customs may extend the

deadline for liquidation for one year at the request of the importer of record or if

additional information is needed for a proper assessment or classification of the

merchandise. Id. § 1504(b); 19 C.F.R. § 159.12(a)(1).

      The Parties disagree as to what standard the Court should apply in reviewing

Customs’ extensions of liquidation. Defendant posits that the Court should apply

an abuse of discretion standard. Def.’s Br. at 40. Plaintiff contends that a plain

reading of 19 U.S.C. § 1504(b) does not confer discretion to Customs but

establishes an objective rule. Pl.’s Reply Br. at 29. Under Plaintiffs interpretation




                                     APPX0057
           Case: 24-1142     Document: 11     Page: 84    Filed: 03/01/2024

Consol. Court No. 17-00154                                                    Page 26


of the statute, Customs has no discretion to extend the deadline for liquidation in

order to obtain additional information necessary for its appraisement. Id. at 29-30.

      Plaintiffs argument runs contrary to the precedent of this Court holding that

Customs’ decisions regarding liquidation extensions are reviewed for arbitrariness

and abuse of discretion, and whether Customs acted in accordance with the law.

See Inf 1 Fid. Ins. Co. v. United States, 41 CIT         227 F. Supp. 3d 1353, 1362

(2017) (“This Court reviews the validity of Customs’ liquidation extensions to

determine whether they are proper under the statute, and are not arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.”

(internal quotation omitted)); Int’l Cargo & Sur. Ins. Co. v. United States, 15 CIT

541, 542, 779 F. Supp. 174, 176 (1991); Detroit Zoological Soc. v. United States,

10 CIT 133, 137-38, 630 F. Supp. 1350, 1356 (1986). The only authority offered

by Plaintiff in support of its position is North Dakota v. United States, 480 F. Supp.

3d 917 (D.N.D. 2020), in which the U.S. District Court for the District of North

Dakota considered whether the Army Corps of Engineers was able to assert the

discretionary function exception as a defense to claims brought under the Federal

Tort Claims Act (“FTCA”). The FTCA provides a limited waiver of the

Government’s sovereign immunity for claims seeking monetary damages for

injuries resulting from a negligent or wrongful act or omission by a Government

employee. 28 U.S.C. § 1346(b). A statutory exception to this waiver is recognized




                                     APPX0058
           Case: 24-1142     Document: 11     Page: 85    Filed: 03/01/2024

Consol. Court No. 17-00154                                                    Page 27


for claims based on a Government employee’s exercise of or failure to exercise a

discretionary function or duty. Id. § 2680(a). In determining whether the

discretionary function exception was applicable, the district court noted that “if the

statutes and regulations impose a mandatory obligation upon the govemmentf,]

there is no discretion to act contrary to or ignore such an obligation.” North

Dakota, 480 F. Supp. 3d at 923.

      The only relevant commonality between the FTCA claims considered by the

U.S. District Court for the District of North Dakota and the issues currently before

this Court is the presence of a Government action. The Court is not persuaded that

this minor similarity warrants deviating from well-established precedent. There is

no statutory ambiguity in Customs’ discretion to determine how to best collect

import duties or extend liquidation deadlines. See St. Paul Fire & Marine Ins. Co.

v. United States, 6 F.3d 763, 768 (Fed. Cir. 1993). Accordingly, the Court reviews

Customs’ extensions of liquidation deadlines under the standard of whether

Customs abused its discretion and acted in accordance with the law. Int’l Fid. Ins.

Co., 41 CIT at    , 227 F. Supp. 3d at 1362-63; Ford Motor Co. v. United States,

157 F.3d 849, 855 (Fed. Cir. 1998). Plaintiff carries the burden of proving by a

preponderance of the evidence that Customs abused its discretion in granting the

extensions. 28 U.S.C. § 2639(a)(1); St. Paul Fire & Marine Ins. Co., 6 F.3d at

768-69.




                                     APPX0059
            Case: 24-1142   Document: 11     Page: 86    Filed: 03/01/2024

Consol. Court No. 17-00154                                                     Page 28


       Plaintiff contends that Customs had no reasonable basis for extending

liquidation after June 14, 2015 because Plaintiff provided all requested information

on or before June 14, 2014, and Customs’ final appraisement calculation was based

on Plaintiff’s submissions from before June 14, 2014. Pl.’s Br. at 34-36.

Defendant argues that the extensions were justified because Customs required

additional internal information in order to determine the appropriate method of

appraisement and to liquidate the subject entries. Def.’s Br. at 41-44.

       “Information” under section 1504(b) includes “whatever is reasonably

necessary for proper appraisement or classification of the merchandise involved.”

Detroit Zoological Soc., 10 CIT at 138, 630 F. Supp. at 1356. In acquiring

necessary information, Customs is not limited to information provided by the

importer and may seek additional information internally. Ford Motor Co., 157

F.3d at 856. As this Court has previously noted, “[section] 1504(b)(1) should be

construed sufficiently broadly for Customs to perform its obligations in a

competent manner.” Int’l Cargo & Sur. Ins. Co., 15 CIT at 546, 779 F. Supp. at

179.

       The Court observes that James Conrad, an auditor at the Port of Buffalo,

New York, described Customs’ audit process in his declaration. Conrad Deel. The

auditor’s fieldwork began on February 24, 2014 and continued to October 14,

2014. IcL    8a, b, & fat 2-3; Def.’s SMF    89 at 14; Pl.’s Resp. at 16-17.




                                    APPX0060
           Case: 24-1142     Document: 11     Page: 87    Filed: 03/01/2024

Consol. Court No. 17-00154                                                      Page 29


Documents were prepared by auditors based on fieldwork and reviewed by

Customs personnel. Conrad Decl.       8f at 3. Following review of the documents, a

senior auditor prepared an Audit Document Review Sheet on December 1, 2014.

Id. ITJ 8f-g at 3. On March 10, 2015, an Audit Report Review Sheet was

completed to ensure that the report satisfied Customs’ internal standards and

Generally Accepted Government Auditing Standards (“GAGAS”). Id.               8i at 3.

The report was then submitted to a Report Referencing Review to confirm its

accuracy, which was completed on April 1, 2015. Id. | 8j at 3-4. A Field Quality

Assurance Program review was completed on April 8, 2015 to ensure compliance

with GAGAS. Id. | 8k at 4. The Draft Audit Report was issued on July 1, 2015.

Draft Audit Report; Pl.’s SMF 36 at 8; Def.’s SMF        99 at 16; Def.’s Resp. at 10;

Pl.’s Resp. at 18. Plaintiff provided its reply to the Draft Audit Report on July 8,

2015. Pl.’s Resp. Draft Audit Report; Pl.’s SMF      37 at 8; Def.’s SMF 1100 at 16;

Def.’s Resp. at 10; Pl.’s Resp. at 18. On August 20, 2015, Plaintiff requested

internal advice from Customs’ Office of Regulations and Rulings pursuant to 19

C.F.R. § 177.11 with respect to the proper basis of appraisement for the subject

merchandise. Def.’s Request for Internal Advice; Def.’s SMF || 103-04 at 16;

Pl.’s Resp. at 19. The Final Audit Report was issued on February 24, 2016. Final

Audit Report; Pl.’s SMF 39 at 8; Def.’s SMF 1101 at 16; Def.’s Resp. at 10-11;

Pl.’s Resp. at 19. Customs Headquarters Ruling H275056 was issued on July 1,




                                     APPX0061
           Case: 24-1142     Document: 11     Page: 88    Filed: 03/01/2024

Consol. Court No. 17-00154                                                    Page 30


2016. HQ H275056; Pl.’s SMF 40 at 9; Def.’s Resp. at 11. The subject entries

were liquidated between April and October 2016. Def.’s SMF         116 at 18; Pl.’s

Resp. at 22.

      Plaintiff characterizes Customs’ review as a “lassitude” or “prolonged

internal deliberation.” Pl.’s Br. at 38. While extensions solely for the purpose of

excusing or facilitating prolonged periods of inaction or actions unrelated to

appraisement might be an abuse of discretion, see Ford Motor Co., 157 F.3d at

855-57, the record reflects that Customs was actively engaged throughout the audit

process in collecting and reviewing the information needed to determine the proper

method of appraisement. The fact that Customs’ final determination and

calculations appear to be based mainly on information obtained early in the audit

process does not support a conclusion that Customs abused its discretion or acted

contrary to law by granting extensions to collect information, to confirm the

accuracy of that information, or to verify the appropriateness of the application.

Because Customs had a reasonable basis for extending liquidation in order to

complete the audit process, ensure its accuracy, and comply with established

standards, the Court concludes that Customs acted in accordance with the law and

did not abuse its discretion. The Court holds that the subject entries should not

have been deemed liquidated by operation of law pursuant to 19 U.S.C.

§ 1504(a)(1).




                                     APPX0062
           Case: 24-1142      Document: 11    Page: 89    Filed: 03/01/2024

Consol. Court No. 17-00154                                                    Page 31


                                   CONCLUSION

      The Court holds that there are no genuine issues of material fact in dispute

regarding whether Plaintiff’s import transactions were sales for exportation to the

United States and whether certain entries became deemed liquidated by operation

of law. Partial summary judgment is therefore appropriate as a matter of law.

Upon consideration of Plaintiff’s Motion for Partial Summary Judgment,

Defendant’s Cross-Motion for Partial Summary Judgment, and all other papers and

proceedings in this action, it is hereby

      ORDERED that Plaintiff’s Motion for Partial Summary Judgment, ECF No.

56, is denied; and it is further

      ORDERED that Defendant’s Cross-Motion for Partial Summary Judgment,

ECF No. 61, is granted as it pertains to Plaintiffs transactions qualifying as sales

“for exportation to the United States” under 19 U.S.C. § 1401a(b) and to the

subject entries not having been deemed liquidated by operation of law; and it is

further




                                      APPX0063
          Case: 24-1142      Document: 11    Page: 90    Filed: 03/01/2024

Consol. Court No. 17-00154                                                   Page 32


      ORDERED that the remaining issues relating to the proper methods of

valuation are reserved for Phase Two and that the Parties shall submit a joint status

report and scheduling order by June 21, 2022 regarding Phase Two of this action.



                                                       /s/ Jennifer Choe-Groves
                                                      Jennifer Choe-Groves, Judge

Dated: May 20, 2022
      New York, New York




                                    APPX0064
